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                           EXHIBIT 22




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                                                         Approved by the IEEE-SA Standards Board December 2011




  IEEE-SA Standards Board Operations Manual




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  Please note that this document may be revised periodically. The latest edition will be made available at the IEEE
  Standards website at no charge. The document on the IEEE St andards website is considered to be the definitive
  version (http://standards.ieee.org/guides/opman/index.html). For further information, contact the IEEE Standards
  Department, 445 Hoes Lane, Piscataway, NJ 08854-4141, USA.




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  1. Introduction

  1.1 Scope and purpose

  The organization and basic procedures of the IEEE-SA Standards Board are covered by the IEEE-SA
  Standards Board Bylaws. The following material supplements the provisions of the IEEE-SA Standards
  Board Bylaws, which shall be the prevailing document in the event of conflict. The purpose of this
  document is to specify the procedures that shall be followed in the standards-development process in use
  within the IEEE.

  1.2 Types of IEEE standards

  IEEE standards include but are not limited to:

      —     Lists of terms, definitions, or symbols, applicable to any field of science or technology within the
            scope of the IEEE.

      —     Expositions of scientific methods of measurement or tests of the parameters or performance of any
            device, apparatus, system, or phenomenon associated with the art, science, or technology of any
            field within the scope of the IEEE.

      —     Characteristics, performance, and safety requirements associated with devices, equipment, and
            systems with engineering installations.

      —     Recommendations reflecting current state-of-the-art in the application of engineering principles to
            any field of technology within the scope of the IEEE.

  IEEE standards are classified as:

      —     Standards: documents with mandatory requirements.1

      —     Recommended practices: documents in which procedures and positions preferred by the IEEE are
            presented.

      —     Guides: documents in which alternative approaches to good practice are suggested but no clear-cut
            recommendations are made.


  1
   Mandatory requirements are generally characterized by use of the verb “shall,” whereas recommended practices normally use the word
  “should.” See the IEEE Standards Style Manual for further information.




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      —    Trial-Use documents: publications in effect for not more than two years. They can be any of the
           categories of standards publications listed above. (See 5.7.)

  The IEEE standards development process may result in one or more of the following documents:

      —    New: A document that does not replace or modify another standard.

      —    Revision: A document that updates and replaces (i.e., supersedes) an existing IEEE standard in its
           entirety.

      —    Amendment: A document that adds to, removes from, or alters material in a portion of an existing
           IEEE standard and may make editorial or technical corrections to that standard.

           NOTE – An amendment to a standard may be prepared to maintain the state-of-the-art within the
           standard due to advancing technology or techniques. An amendment facilitates the timely change of
           an existing IEEE standard prior to its complete revision.

      —    Corrigendum: A document that only corrects editorial errors, technical errors, or ambiguities in an
           existing IEEE standard. A corrigendum does not introduce new material.

           NOTE –A typical corrigendum may contain:

           — Corrections to equations, tables, or figures, or their associated numbering or citations in the
             text

           — Corrections to technically incorrect sentences or paragraphs

      —    Erratum: A document that contains only grammatical corrections to, or corrections of errors
           introduced during the publishing process of, an existing IEEE standard. An erratum is based on the
           comparison of the final balloted version of the standard as compared to the published version.

  IEEE Standards Project Editors can assist Sponsors in determining whether an amendment or revision is
  appropriate.

  IEEE Standards may be in one of three states of activity:

      —    Developing: Standards projects that have not yet been approved as standards.

      —    Active: Approved standards that have not been transferred to inactive status.

      —    Inactive: Standards that are no longer being reviewed or assessed for accuracy, relevance to current
           practices, or further applications; these standards are removed from active status (i.e., these
           standards are transferred from active to inactive status). (See 9.2).

  1.3 Standards documentation

  All IEEE-SA draft standards, meeting minutes, Sponsor ballot materials, and Sponsor ballot comments shall
  be in the English language.




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  2. Related documents

  American National Standards Institute, ANSI Essential Requirements: Due process requirements for
  American National Standards (current edition).

  IEEE Standards Association Operations Manual.

  IEEE-SA Standards Board Bylaws.

  PAR Form.

  IEEE-SA Standards Board Working Guide for Submittal of Proposed Standards and Form for Submittal of
  Proposed Standards. (Known as the IEEE-SA Working Guide for the Submittal of Proposed Standards.)

  IEEE Standards Style Manual.

  Robert’s Rules of Order, Newly Revised (current edition).




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  3. Abbreviations and acronyms

  AdCom: IEEE-SA Standards Board Administrative Committee

  ANSI: American National Standards Institute

  ASC: ANSI Accredited Standards Committee

  AudCom: IEEE-SA Standards Board Audit Committee

  IEEE: Institute of Electrical and Electronics Engineers

  NesCom: IEEE-SA Standards Board New Standards Committee

  PAR: Project Authorization Request

  PatCom: IEEE-SA Standards Board Patent Committee

  ProCom: IEEE-SA Standards Board Procedures Committee

  RevCom: IEEE-SA Standards Board Standards Review Committee

  SASB: IEEE-SA Standards Board

  SCC: Standards Coordinating Committee

  SDO: Standards-Developing Organization

  TC: Technical Committee

  WG: Working Group




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  4. IEEE-SA Standards Board and committee procedures

  4.1 IEEE-SA Standards Board

  4.1.1 Transaction of business

  Except as specified in the IEEE-SA Standards Board Bylaws and these procedures, business of the IEEE-
  SA Standards Board meeting will be conducted in accordance with the latest edition of Robert’s Rules of
  Order.

  4.1.1.1 Agenda

  A preliminary agenda for each meeting shall be prepared by the Secretary and sent to the members of the
  IEEE-SA Standards Board, including liaison representatives, at least two weeks prior to a scheduled
  meeting. The preliminary agenda shall also be sent to the IEEE-SA Board of Governors (BOG).

  A final agenda shall be presented at the time of the IEEE-SA Standards Board meeting. Recommendations
  to the IEEE-SA Standards Board from the committees of the IEEE-SA Standards Board shall be contained
  in an agenda item known as a “consent agenda.” Prior to approval of the agenda, any member may request
  that an item on the consent agenda be removed and considered separately as part of the agenda. Adoption of
  the consent agenda as modified constitutes approval of all included items by unanimous consent. The
  balance of the agenda normally includes, in the order shown, the Chair‟s report, the Secretary‟s report,
  action items, information and discussion items, committee reports, and new business.

  4.1.1.2 Minutes

  The minutes of each meeting of the IEEE-SA Standards Board shall be distributed by the Secretary to voting
  members, liaison representatives, the IEEE-SA BOG, those present at the meeting, and anyone involved in
  an action of the IEEE-SA Standards Board within four weeks following the meeting. In reporting an official
  action of the IEEE-SA Standards Board, the minutes shall, on request of dissenters, contain a record of the
  dissenting votes. In addition, a listing of resolutions of each meeting of the IEEE-SA Standards Board shall
  be publicly distributed by the Secretary within four weeks following the meeting.

  4.1.1.3 Project Authorization Requests (PARs)

  PARs that have been submitted by Sponsors to the Secretary of the IEEE-SA Standards Board by the
  established deadline shall be submitted by the Secretary to the New Standards Committee (NesCom) for
  review. Notification of this distribution shall be given to all members of the IEEE-SA Standards Board. (For
  additional information on the procedures of NesCom, see 4.2.2.)

  4.1.1.4 Submittal of proposed standards

  Proposed standards, together with the required documentation, that have been submitted by Sponsors to the
  Secretary of the IEEE-SA Standards Board by the established deadline shall be submitted by the Secretary
  to the Standards Review Committee (RevCom) for review. Notification of this distribution will be given to
  all members of the IEEE-SA Standards Board. (For additional information on the procedures of RevCom,
  see 4.2.3.)

  4.1.1.5 Confidentiality Statements and Copyright Notices on Communications

  The IEEE-SA Standards Board and its committees operate in an open manner. To that end, no material
  submitted to the IEEE-SA Standards Board or its committees will be accepted or considered if it contains


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  any statement that places any burden on the recipient(s) with respect to confidentiality or copyright. Any
  communication, including electronic mail, containing language with such restrictive wording will not be
  accepted or considered.

  It should be noted that this policy does not apply to IEEE copyrighted materials, such as draft standards, or
  to materials to or from IEEE counsel appropriately classified as attorney-client privileged. In the event that
  copyrighted materials are to be incorporated in an IEEE standard, an acceptable copyright release or
  assignment must be obtained from the copyright owner prior to approval of the standard by the IEEE-SA
  Standards Board.

  4.1.2 Liaison representatives

  The Secretary of the IEEE-SA Standards Board shall circulate the following information to the liaison
  representatives for review and action:

        a)      Each IEEE Project Authorization Request (PAR) submitted for approval. The liaison
                representative is expected to review each request to see if his or her organization has a substantial
                interest in the project.

        b)      Agenda for each IEEE-SA Standards Board meeting. This should be reviewed to determine if
                there is any item on the agenda of substantial interest to the organization. The liaison member
                should be present, if necessary, to support the interests of the organization.

        c)      Minutes of meetings of the IEEE-SA Standards Board. This shall include action taken on PARs
                and draft standards.

        d)      Notice of assignment of a standards project. When the IEEE-SA Standards Board, on its own
                initiative, agrees on the need for a standard, a request to develop the standard shall be sent to the
                liaison representative of the Society and/or the Standards Coordinating Committee (SCC) having
                primary interest in the subject. The liaison representative is expected to assign the project to the
                appropriate technical unit as Sponsor for the development of the standards project.

        e)      Status Reports. The liaison representative shall review any sections of the project reports that may
                be assigned to his or her organization and notify the Secretary of the IEEE-SA Standards Board of
                any corrections and revisions. The liaison representative should ensure that action is taken to revise
                all standards assigned to the Society within ten years of the date of approval. The liaison
                representative should monitor work being done on all standards projects and report any changes in
                the status of the standards to the Secretary of the IEEE-SA Standards Board.

  4.2 Standing committees of the IEEE-SA Standards Board2

  4.2.1 Procedures Committee (ProCom)

  This committee shall review proposed modifications to the IEEE-SA Standards Board Operations Manual
  and the IEEE-SA Standards Board Bylaws and submit its recommendations for a vote of the IEEE-SA
  Standards Board. It shall hold meetings as the need requires.

  This committee shall review proposed modifications to the IEEE Standards Style Manual and submit its
  comments to IEEE-SA Staff.


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      Note that not all committee operations are detailed in this subclause.




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  4.2.2 New Standards Committee (NesCom)

  This committee shall examine Project Authorization Requests (PARs) and make recommendations to the
  IEEE-SA Standards Board regarding their approval. Such forms shall be reviewed in detail to make certain
  that all necessary information has been properly provided.

  4.2.3 Standards Review Committee (RevCom)

  This committee acts in an advisory capacity to the IEEE-SA Standards Board by making recommendations
  on the approval or disapproval of standards submitted for IEEE-SA Standards Board approval or adoption.

  Approval or adoption of a standard requires a consensus of RevCom that the requirements of the procedures
  of RevCom and those of the IEEE-SA Standards Board have been satisfied. Specifically, this means that the
  final results of the ballot and statements submitted by balloters who participated in the development of the
  standard indicate that consensus has been achieved and unresolved negative ballots have been properly
  considered, together with reasons why the comments could not be resolved.

  4.2.3.1 RevCom agenda

  A preliminary agenda for each RevCom meeting shall be prepared by the Secretary of the IEEE-SA
  Standards Board or a designated person and distributed to RevCom members at least 30 days 3 prior to a
  scheduled meeting of RevCom. Included with the agenda shall be a list of all proposed standards to be
  presented to the IEEE-SA Standards Board for approval. At the same time the agenda, without supporting
  documentation, shall be sent to all members of the IEEE-SA Standards Board, liaison representatives, and
  other organizations and persons. The agenda is to be sent to all persons and organizations that have
  expressed an interest in the standards activities of the IEEE.

  4.2.3.2 Review of draft standards

  The RevCom Administrator shall distribute a copy of each proposed standard to the members of RevCom,
  together with the submittal form and any other pertinent information, for review. An IEEE-SA Standards
  Board member or the liaison representative may request a copy of the proposed standard from the RevCom
  Administrator. RevCom members are responsible for reviewing the documents and submitting comments to
  the RevCom Administrator. All comments and objections with reasons shall be distributed by the RevCom
  Administrator to RevCom members and the liaison representative of the Sponsor.

  All requests for approval of a standard shall be reviewed by RevCom to ensure that the submittal is complete
  and that appropriate IEEE procedures are followed completely and correctly (see the IEEE-SA Working
  Guide for Submittal of Proposed Standards).

  Examples of some of the points that must be carefully analyzed are given in the following paragraphs:

       —        Title of Document. The title on the draft document and submittal form shall be within the scope as
                stated on the most recently approved PAR, or action(s) shall be taken to ensure this.

       —        Coordination. Mandatory coordination comments shall be addressed. If the Sponsor believes that
                satisfying specific mandatory coordination comments will impede the utility of the draft standard,
                appropriate documentation of this position shall be presented to RevCom.



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      Throughout this document, the term „days‟ shall mean calendar days.




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      —   Ballot Summary. A ballot summary of the vote of the members is required, e.g., showing the
          classification of members of the balloting group and including comments accompanying unresolved
          negative ballots. For complete details, see 5.4.1 and 5.4.3.

      —   Balloting Group. The balloting group shall be formulated according to 5.4.1.

      —   Classification of Balloting Body. Classification of the balloting body shall be in accordance with
          5.4.1.

      —   Comment Responses. All comments shall receive consideration and response in accordance with
          5.4.3.

  4.2.3.3 Sponsor representation at RevCom

  At the suggestion of the Secretary, the Sponsor may send a representative to the RevCom meeting at which a
  proposed standard having unresolved negative comments is to be reviewed. The Secretary shall ensure that
  the representative receives a copy of all comments, objections, and negative RevCom votes with reasons.
  The Sponsor representative shall be given an opportunity to discuss them at the meeting.

  4.2.3.4 Proponents and objectors to actions before RevCom

  Proponents and objectors to actions before RevCom may attend meetings to present their views. When
  negative comments are received in advance from RevCom members, the Sponsor shall be invited to send a
  representative(s) to the RevCom meeting to answer questions and help resolve issues.

  4.2.3.5 Dissenting opinions

  At the request of any member of RevCom, a recommendation may be accompanied by a statement in
  disagreement with the recommendation. While there seldom is a “minority” position, the IEEE-SA
  Standards Board shall be informed of significant controversies.

  4.2.4 Audit Committee (AudCom)

  This committee shall make routine reviews and inspections to assure that each standards-developing entity,
  through its Sponsor and Working Group policies and procedures (P & P), is adhering to the procedures
  described in the IEEE-SA Standards Board Bylaws and the IEEE-SA Standards Board Operations
  Manual. It will make recommendations as appropriate to advise the standards-developing entities of changes
  that are needed. The committee shall periodically issue reports when requested by the IEEE-SA Standards
  Board, summarizing its findings and making recommendations as appropriate for Standards Board action.

  The committee shall develop sets of basic Sponsor and Working Group operating procedures for standards
  development and shall use such operating procedures as a baseline when performing audits of P & P.

  4.2.4.1 AudCom review of Sponsor P & P

  AudCom recommends to the IEEE-SA Standards Board the following actions concerning IEEE-SA Sponsor
  P & P:

      —   Accepted

      —   Not accepted

      —   Visibly under development



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  A Sponsor's P & P shall be determined by AudCom to be visibly under development or accepted by
  AudCom before performance of any standards work (including but not limited to: PAR actions, Sponsor
  ballot actions, etc.) by that Sponsor is authorized by the IEEE-SA Standards Board to commence.

  After a Sponsor's P & P have been submitted to AudCom and an AudCom member is assigned as mentor to
  review the document, the P & P may be determined by AudCom to be visibly under development. The P & P
  will remain in such a state until AudCom is either satisfied that they are complete and acceptable or that the
  Sponsor is no longer responsive to AudCom and that the P&P are not acceptable.

  AudCom will ensure that each Sponsor has based its P & P on the appropriate Sponsor procedures (e.g.,
  individual, entity, SCC Type 1, or SCC Type 2) available from the IEEE-SA.

  Sponsor P & P shall be subject to review by AudCom every five years to ensure currency. However, if a
  Sponsor revises its P & P prior to its next scheduled AudCom review, the Sponsor shall immediately submit
  its revised P & P to AudCom for review and acceptance.

  The IEEE Standards Sponsor P & P document accepted by AudCom shall be the official policies of that
  Sponsor and shall reside online on the IEEE-SA Standards Board AudCom website. No other copy shall be
  designated as the official copy. Links to the IEEE-SA Standards Board AudCom website are encouraged.

  4.2.4.2 AudCom review of Working Group P & P

  It is the responsibility of the Sponsor (see 5.1.2) to approve the P & P of its working groups involved in the
  technical development work of a standard. However, at any time, AudCom may select a working group on
  which to conduct a WG P & P audit, from the various working groups that the Sponsor has active at the
  time. At least one of a Sponsor‟s WG P & P shall be subject to review by AudCom every five years to
  ensure currency. AudCom will conduct the review based on comparison to the then-current baseline WG P
  & P available from IEEE-SA.

  AudCom will review the WG P & P of the selected working group and, if no issues are found, will report
  this to the IEEE-SA Standard Board. If issues are identified with the selected WG P & P, AudCom will
  suggest revisions. AudCom may also require review of additional WG P & P of other working groups for the
  Sponsor. If issues are not resolved in a reasonable time, or significant issues are found among the WG P &
  P of several working groups, AudCom may recommend to the IEEE-SA Standards Board that the Sponsor‟s
  Working Group P & P be considered “not accepted”, and that Sponsor standards development activities be
  stopped. If issues exist but progress is being made, AudCom may recommend to the IEEE-SA Standards
  Board that the Sponsor‟s Working Group P & P be considered “visibly under development”.

  Stopping of standards development activities includes PAR submissions, Sponsor ballot activities, etc.

  4.2.5 Patent Committee (PatCom)

  This committee reviews patent letters of assurance and other patent information submitted to the IEEE
  Standards Department. It examines issues brought to its attention regarding IEEE Standards development
  and patents, and makes recommendations as appropriate.

  4.2.6 Continuous processing of IEEE-SA Standards Board and committee agenda items

  In order to reduce the time involved in standards development, the IEEE-SA Standards Board and its
  committees may use continuous processing through electronic technologies to consider appropriate agenda
  items. Each agenda item to be considered under this methodology shall be carefully appraised as to its
  suitability for this process. The IEEE-SA Standards Board and its committees should establish means for




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  continuous processing according to their unique needs. These methods are publicly available by contacting
  the Secretary of the IEEE-SA Standards Board.

  Any votes taken by the IEEE-SA Standards Board during continuous processing are subject to the
  provisions stated in subclause 5.1 of the IEEE-SA Standards Board Bylaws.

  4.3 Forming a Standards Coordinating Committee (SCC)

  The IEEE-SA Standards Board will consider petitions from persons who outline the desirability of an SCC
  type 1 or SCC type 2, defined in subclause 4.3.1 of the IEEE-SA Standard Board Bylaws.

  4.3.1 Notification of affected IEEE Societies and Councils

  A proposal to create a new SCC type 1 or SCC type 2 or to change the scope of an existing SCC shall first
  be submitted to all IEEE Society/Council Presidents whose scopes of activity are related to the program of
  work to be covered by the proposed SCC or affected by a proposed change in the scope of an existing SCC.

  4.3.1.1 New SCC

  For proposed new SCCs, the notification shall include

      a)   A scope of work for the SCC.

      b)   Supporting material demonstrating the need for and feasibility of the SCC.

      c)   A statement explaining why the SCC should undertake the sponsorship of standards in a particular
           subject area rather than the current committees of IEEE Societies or Councils.

      d)   A nominee for chair, including a statement of his or her willingness to serve.

      e)   A budget that estimates annual resource requirements and identifies sources of revenue to support
           the activity.

      f)   An opportunity for the IEEE Society/Council to sponsor the work.

  Notified Presidents shall be requested to respond to the notification indicating whether the IEEE
  Societies/Councils they represent would be willing to sponsor the work. The response date should be set to
  be prior to the proposed submission to the IEEE-SA Standards Board. A period of at least three months
  should be given to respond to the notification.

  4.3.1.2 Change in scope of an existing SCC

  The notification for changes in the scope of an existing SCC shall include

      a)   The proposed scope change.

      b)   Supporting material demonstrating the need for and feasibility of the change.

      c)   Recommendations for any changes in current sponsorship.

      d)   Any change in budget and other resource requirements.




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  Notified IEEE Society/Council Presidents shall be requested to respond to the notification. The response
  should be set to be prior to submission of the proposed scope change to the IEEE-SA Standards Board. A
  period of at least three months should be given to respond to the notification.

  4.3.2 Proposal to the IEEE-SA Standards Board

  A proposal to create a new SCC type 1 or SCC type 2 or to revise the scope of an existing SCC shall be
  submitted to the IEEE-SA Standards Board. The proposal shall include all of the information in items a)
  through f) of 4.3.1.1 for new SCCs and in items a) through d) of 4.3.1.2 for changes in scope of an existing
  SCC that was submitted to the IEEE Society/Council Presidents. It shall also include documentation of any
  responses or indication of a lack of response from IEEE Society/Council Presidents.

  Consideration of proposals for a new SCC or a change in scope of an existing SCC by the IEEE-SA
  Standards Board shall take no longer than six months without notification to the submitter.

  In considering approval of a new SCC, the IEEE-SA Standards Board shall evaluate the need for and
  feasibility of the proposed SCC. If the IEEE Societies/Councils have indicated a willingness to serve as the
  standards Sponsor, the IEEE-SA Standards Board will evaluate their expertise and breadth of knowledge to
  sponsor the work.

  For changes in an existing SCC scope, the IEEE-SA Standards Board shall evaluate the appropriateness of
  the scope change and the feedback received from the IEEE Society/Council Presidents.

  If the formation or revised scope of the SCC is approved, the Chair of the IEEE-SA Standards Board shall
  formally notify the IEEE Society/Council Presidents and invite their participation by naming member(s) to
  the SCC from the various IEEE Societies/Councils. Notification shall also be sent to the members of the
  IEEE-SA BOG and announced in appropriate media.

  4.4 Organization of SCCs

  4.4.1 Membership

  Membership in the IEEE-SA is encouraged for all SCC members.

  4.4.2 Officers of an SCC

  Each officer shall be an IEEE member of any grade except Student grade and shall be a member of the
  IEEE-SA.

  The IEEE-SA Standards Board Chair shall appoint the chair of each SCC. The appointment shall be for the
  calendar year, but the SCC Chair may, at his or her discretion, serve until a successor is appointed.

  Other SCC officers (e.g., vice chair and secretary) are chosen as provided in the approved SCC Operating
  Procedures.

  The IEEE-SA Standards Board Chair has the authority to remove an officer of an SCC.

  4.4.3 Membership in an SCC type 2

  The members of an SCC type 2 and its subcommittees are appointed by one or more of the following:

      a)   The SCC Type 2 Chair,




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      b)   An IEEE Society,

      c)   The IEEE-SA Standards Board.

  4.5 Responsibilities of SCCs

  The chair of an SCC (types 1 and 2) shall submit a written report each year to the IEEE-SA Standards
  Board for approval. This report should contain the scope, activities, budget and expenses, and meeting
  schedules, along with the membership roster. The roster shall indicate the IEEE membership status and
  society affiliation of each member. The SCC chair may also be asked to give an oral report to the IEEE-SA
  Standards Board every three to four years.

  Interested Societies of the IEEE may designate members to an SCC who then function as official
  representatives of the Society. The IEEE-SA Standards Board may designate representatives of outside
  organizations as additional members.

  Each member of an SCC who is an official representative of a Society, technical committee, or outside
  organization may have a single designated alternate to act on behalf of the member in his or her absence.
  Alternates for other members shall not be permitted.

  An SCC may establish subcommittees as necessary to perform its function. The formation of non-technical
  (e.g., administrative) subcommittees requires prior approval by the IEEE-SA Standards Board

  4.6 Disbanding a Standards Coordinating Committee (SCC)

  The IEEE-SA Standards Board should consider the disbandment of an SCC if any of the following applies:

      —    The SCC leadership is nonresponsive to requests for annual reports, minutes, or status.

      —    The membership or activity of the SCC is no longer representative of its stated scope.

      —    The SCC‟s P & P are found to be deficient or out of date and the SCC does not initiate corrective
           action.

      —    There is no current SCC chair and a suitable replacement chair cannot be found.

      —-   The requirement to submit a written, annual report to the IEEE-SA Standards Board is not met.

      —    There have been no meetings of the SCC or any of its subcommittees within the last 12 months and
           none are scheduled.

      —    Coordination is no longer needed and an IEEE Society/Council is willing to assume responsibility
           for the SCC‟s standards.

      —    The SCC requests dissolution.




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  5. Standards development

  5.1 Sponsor

  Sponsors are defined in subclause 5.2.2 of the IEEE-SA Standards Board Bylaws.

  5.1.1 Responsibilities of the Sponsor

  The Sponsor shall be responsible for the development and coordination of the standards project, and for
  supervising the standards project from inception to completion. The Sponsor also shall be responsible for
  the maintenance of standards after their approval by the IEEE-SA Standards Board. As part of this
  responsibility, each Sponsor shall operate in accordance with a written set of policies and procedures (P &
  P) that have been accepted by the IEEE-SA Standards Board. Such P & P shall not be in conflict with the
  IEEE-SA Standards Board Operations Manual. Sponsors should note that there are model operating
  procedures (e.g., individual, entity, SCC Type 1, or SCC Type 2) available for use by the Sponsor.

  If a Sponsor’s P & P has been in force for five years and the Sponsor determines that its standards activities
  should remain active, the Sponsor shall submit its P & P, or an extension request, to the AudCom
  Administrator. AudCom will make a recommendation to the IEEE-SA Standards Board whether or not to
  accept its P & P or the extension. An extension request may be granted for one or more years.

  If the Sponsor does not submit its Sponsor P & P or an extension request, and the P & P has reached the
  deadline authorized in the P & P approval letter or a previous extension approval letter, the Sponsor P & P
  shall be subject to administrative withdrawal.

  In the case of a Sponsor that is a committee of an IEEE Society, the Society may develop a common set of P
  & P for standards development that is applicable to all Sponsors in that Society. Individual Sponsors within
  the Society may have specific P & Ps in addition, but these shall not be in conflict with the Society P & P.
  The P&P for the Sponsor shall define the process by which the Sponsor handles appeals (see subclause 5.4
  of the IEEE-SA Standards Board Bylaws and 5.8).

  5.1.2 Duties of the Sponsor

  Supervision of a standards project by the Sponsor includes the following mandatory requirements:

      a)   Submit a properly completed Project Authorization Request (PAR) for IEEE-SA Standards Board
           approval within six months of the first decision to initiate the project. Forms and information may
           be obtained from the NesCom Administrator (see 5.2).

      b)   After approval of the project, work with the IEEE Standards Department Staff to give notice of the
           project in appropriate publications and to appropriate entities, for the purpose of soliciting an
           expression of interest in the work of the sponsoring committee.

      c)   Ensure that mandatory coordination requirements are accomplished (see 4.2.3.2 and 5.4.4).

      d)   Organize the technical development work on the standard.

      e)   Notify persons who have expressed interest in the time and the place of meetings as specified in the
           P & P of the Sponsor (see 5.1.1).

      f)   Ensure that all meetings involving standards are open to all interested parties.




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      g)   Conduct the standards ballot in accordance with these procedures.

      h)   Submit the proposed standard together with the submittal form to the IEEE-SA Standards Board.

      i)   Submit annually to the IEEE Standards Department an electronic roster of individuals participating
           on standards projects.

      j)   Without exception, the Sponsor shall ensure the submission of an annual financial report(s) for the
           operation of the Sponsor and all of its standards development committees (e.g., working groups,
           task groups). Those groups operating without treasury are required to submit an annual declaration
           thereof via the report (see 5.3.6).

      k)   Monitor standards developing committees for signs of dominance by any single interest category,
           individual, or organization. If dominance is suspected, the Sponsor shall promptly notify the IEEE-
           SA Standards Board and shall immediately address the concern with the standards developing
           committee leadership.

      l)   If a Working Group (WG) was created for technical development work on a standard, ensure that a
           written set of WG policies and procedures (P & P) is created and approved by the Sponsor. Such P
           & P shall not be in conflict with the IEEE-SA Standards Board Operations Manual. Sponsors
           should note that IEEE-SA Standards Board maintains a baseline WG P & P, and may occasionally
           request to review a Sponsor‟s WG P & P for alignment.

  5.1.3 Statements to external bodies

  Each IEEE Standards Sponsor shall have policies and procedures in place concerning the creation and
  handling of public statements prior to sending any such statements in any format to any body other than the
  IEEE Standards Association. These procedures should state a means for developing and approving the
  Sponsor statement and a methodology for presentation of those statements. These procedures shall also
  conform both to the IEEE-SA procedures as administered by the IEEE-SA Board of Governors (BOG) and
  set forth in subclause 6.5 of the IEEE Standards Association Operations Manual and to the rules in
  Section 15 of the IEEE Policies.

  Each statement shall clearly identify the group creating this statement in its opening paragraph, and shall
  include in that paragraph, or a footnote thereto, the exact sentence that ―this document solely represents the
  views of name of group and does not necessarily represent a position of either the IEEE or the IEEE
  Standards Association.‖ If the public statement addresses safety, that statement shall be reviewed and
  approved in writing by IEEE legal counsel prior to issuance.

  Upon issuance of all such public statements, electronic copies shall be sent to the Secretary of the IEEE-SA
  Standards Board and to the Secretary of the IEEE-SA BOG.

  If the Sponsor wants to issue an entity position statement on standards that represents the viewpoint of the
  IEEE Standards Association, the rules in the IEEE Standards Association Operations Manual shall be
  followed. Approval from the IEEE-SA BOG shall be obtained prior to a Sponsor requesting another IEEE
  entity (as defined in Section 15 of the IEEE Policies) to offer a position statement on a standards matter.

  5.1.4 Standards publicity

  5.1.4.1 Press releases

  Sponsors are encouraged to prepare press releases to promote their activities. IEEE Standards staff is
  available to assist in the preparation of press releases.



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  Copies of all press releases developed by IEEE Standards Sponsors shall be submitted to the Secretary of
  the IEEE-SA Standards Board. Copies may be supplied electronically. If the press release has been made
  available on a public website, the URL shall be supplied as well. Press releases may be made available on
  the IEEE Standards website, or links to existing websites may be provided to aid users in locating
  appropriate standards press releases.

  5.1.4.2 Other forms of publicity

  Sponsors are encouraged to use all means possible to promote their standards and standards activity. IEEE
  Standards staff is available to assist in standards promotion.

  Copies of any articles from Sponsors concerning an IEEE standards activity submitted to publications shall
  be submitted to the Secretary of the IEEE-SA Standards Board. Copies may be supplied electronically. If
  the article has been made available on a public website, the URL shall be supplied as well. Articles may be
  made available on the IEEE Standards website, or links to existing websites may be provided to aid users in
  locating appropriate standards promotional material.

  5.2 Project authorization

  No formal activity shall take place after six months from the day of the first meeting of the working group
  without formal submittal of a PAR to the IEEE-SA Standards Board and assignment of a project number
  (see 5.1.2). Only the NesCom Administrator has the authority to assign project numbers (see the IEEE-SA
  Project Numbering Policy).

  The Sponsor shall submit the original signed copy of the PAR to the NesCom Administrator. This original
  PAR shall be submitted prior to the submittal deadline specified. For the first three quarterly meetings of
  the year, the submittal deadline shall be at least 40 days before the meeting of the IEEE-SA Standards
  Board. For the last quarterly meeting of the year, the submittal deadline shall be at least 50 days before the
  meeting of the IEEE-SA Standards Board. The individual signing the PAR shall be an IEEE-SA member.

  At the time of PAR submission, the Sponsor shall state the type of balloting group that will be formed to
  approve or disapprove the standard (see 5.4.1).

  Any PAR that includes a change in sponsorship shall be submitted to the NesCom Administrator,
  accompanied by letters of agreement from both the Sponsor ceding sponsorship and the Sponsor accepting
  sponsorship.

  After the PAR has been approved by the IEEE-SA Standards Board, the PAR form becomes an important
  part of the project file for the standard and is referred to at the time that a standard is submitted for IEEE-
  SA Standards Board approval. It is important for standards-writing committees to examine the approved
  PAR periodically in order to make certain that its information is current as shown on the form. This will
  minimize delays in obtaining approval of final submittals.

  For standards and their amendments that may be submitted to international standards-developing
  organizations, the project chair should supply a coordination plan to the IEEE-SA Standards Board during
  the draft development of the standard that will illustrate the plan they will follow to coordinate the
  necessary multiple approvals.

  If a standards project has not been completed by the four-year deadline authorized in the PAR and the
  Sponsor determines that the project should remain active, the Sponsor shall complete the IEEE-SA
  Standards Board Extension Request Form and submit it to the NesCom Administrator. NesCom will make a
  recommendation to the IEEE-SA Standards Board whether or not to approve the extension to the PAR. A
  PAR extension may be granted for one or more years.


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  If the Sponsor does not submit an IEEE-SA Standards Board Extension Request Form and the standards
  project has reached the deadline authorized in the PAR approval letter or a previous extension approval
  letter, the standards project shall be subject to administrative withdrawal.

  5.3 Standards development meetings

  5.3.1 Objective

  The objective of IEEE standards development meetings is to develop and produce IEEE standards
  documents. All IEEE Standards meeting participants are encouraged to produce standards that address the
  technical needs of their industry and that are feasible, timely, and of high quality.

  5.3.2 Standards Sponsors

  Sponsors are responsible for managing and hosting meetings whose purpose is to facilitate development of
  IEEE Standards. These series of meetings operate on a break-even basis and are not operated to generate a
  profit in the long term. The following subclauses specifically address this additional role of managing and
  hosting standards development meetings.

  5.3.3 Standards development meetings

  Standards development meetings are to be conducted consistent with the principle of openness. Working
  group participants may include members and non-members when the requirements to gain membership are
  specified in Sponsor or working group P & P. A 'meeting' includes any convening for which notice was
  required to be given or for which membership-credits or other participation rights are either earned or
  exercised. Meetings may be in-person or may be via electronic means, as appropriate.

  While a WG may maintain its own participants list to track membership status, the authoritative list of
  participants is maintained in an IEEE-SA database.

  5.3.3.1 Disclosure of affiliation

  Each participant's affiliation shall be disclosed at any working group or project meeting. The chair or the
  chair‟s delegate shall inform the meeting of the requirement for disclosure of affiliation (see 5.2.1.5 of the
  IEEE-SA Standards Board Bylaws). This shall be via a sign-in (e.g., sign-in sheet, electronic sign-in, verbal
  disclosure, or electronic communication) that provides for disclosure of employer and any other affiliation, a
  reminder of the definition of affiliation, and possible penalties for non-compliance.

  Whenever an individual is aware that the ownership of his or her employer or other affiliation may be
  material to the process, or when the Sponsor or the IEEE-SA Standards Board requests, that individual shall
  also declare the “ultimate parent entity” of their affiliation. The ultimate parent entity is an entity that
  directly or indirectly, through one or more intermediaries, controls the entity identified as the individual‟s
  affiliation. For the purposes of this definition, the term “control” and its derivatives, with respect to for-
  profit entities, means the legal, beneficial or equitable ownership, directly or indirectly, of more than fifty
  percent (50%) of the capital stock (or other ownership interest, if not a corporation) of an entity ordinarily
  having voting rights. “Control” and its derivatives, with respect to nonprofit entities, means the power to
  elect or appoint more than fifty percent (50%) of the Board of Directors of an entity.

  The minutes of each working group or project meeting shall record a list of attendees and the disclosed
  affiliation of each attendee.

  5.3.3.2 False or misleading disclosure




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  A meeting attendee who fails to disclose affiliation shall not accrue any membership rights, including rights
  of or towards voting membership, until such disclosures have been made. The chair shall review the
  adequacy of disclosures. Failure to disclose affiliation, or materially false or misleading disclosure of
  affiliation, shall result in loss of membership privileges and may also result in loss of other participation
  privileges within the IEEE-SA for such participants and any affiliated entities.

  The Sponsor of the project shall, when appropriate, review the adequacy of disclosures and, if deemed
  inadequate, may direct corrective action(s). In the absence of effective corrective action(s) by the Sponsor,
  the IEEE-SA Standards Board may impose further corrective action(s).

  5.3.3.3 Job recruiting

  Job recruiting at IEEE Standards meetings is inappropriate and is actively discouraged. However, posting of
  notices of job opportunities by employers and of notices of jobs sought may be permitted at IEEE Standards
  meetings only if approved by the IEEE Standards Sponsor.

  5.3.3.4 Audio recording, video recording, and photography

  IEEE Standards Sponsor committees may apply restrictions on the use of audio recording, video recording,
  or photography equipment where they may impede free discussion, where they compromise commercial
  value, or where they are disruptive. Such restrictions should be clearly identified, in advance, to attendees.

  5.3.3.5 Press attendance

  Normally, individuals from the press are not encouraged to attend standards meetings. If the press is in
  attendance, the chair should announce press attendance. Normal meeting fees are not expected to be waived
  for the press.

  5.3.3.6 Commercial activities

  Exhibits of vendor products, distribution of literature, sales presentations, and similar activities are
  discouraged at standards meetings as they detract from and compete with the normal standards development
  process.

  5.3.4 General approvals, endorsements, and notifications

  All Sponsors of IEEE standards development meetings with per-meeting budgets or expenses for the IEEE
  of US $25,000 or greater shall submit forecasts of their meetings [including the location (if known),
  approximate date, and anticipated subject matter] to the IEEE-SA BOG at least one year in advance on an
  annual basis. Such forecasts shall be kept current.

  Because of its unique membership categories (e.g., entities), the IEEE-SA may enter into hosting
  arrangements with for-profit enterprises for its meetings, provided these arrangements do not violate the not-
  for-profit status of the IEEE.

  5.3.5 Meeting budgets

  The IEEE-SA BOG and the IEEE Society, where applicable, shall receive the budgets for all IEEE standards
  development meetings for which the budgeted meeting income or expenses for the IEEE exceeds US
  $25,000 per meeting.

  For these meetings, the following actions shall be taken:




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      —    The budget should provide all needed financial information and be consistent with analysis of the
           attendance and financial results of any preceding meeting on the same subject. Income, expenses,
           and reserve funds shall be reported to the IEEE-SA BOG annually, but no later than six months
           after the close of the fiscal year. All budgets shall be based on non-deficit expectations. However,
           if a series of meetings are organized, the series should be on a self-sustaining basis. The Sponsor
           committee, for sufficient reasons, may elect to budget a particular meeting on a deficit basis.

      —    Such a deficit budget will be approved if properly related to the total fiscal picture of the Sponsor
           committee.

      —    The Sponsor committee assumes the entire risk of deficit; i.e., if a deficit is incurred in the
           operation of a meeting, that deficit is chargeable against the Sponsor committee. Conversely, if a
           surplus results from the operation, the surplus will be credited to the Sponsor committee.

      —    If substantial financial changes are made to previously approved budgets, a revised budget should
           be submitted.

  For IEEE Standards meeting budgets where the budget or expenses for the IEEE are greater than US
  $25,000, failure to submit a budget may result in action from the IEEE-SA BOG.

  For IEEE Standards meetings operating without a budget or with a minimal budget, the operating
  procedures of the committee shall apply.

  An IEEE Standards Sponsor may choose to set a meeting fee as a means of offsetting the costs of meeting
  administration, logistics, and other similar costs of standards development.

  5.3.6 Annual financial report

  All Sponsors are required to submit an annual report (IEEE Form L50-S) detailing financial activity for the
  previous fiscal year. The report will be due within three months of the completion of the previous fiscal
  year. Failure to submit this report shall result in action from the IEEE-SA Standards Board. Actions shall
  include, but not be limited to, suspension of all activities until the report is filed and accepted as complete.

  5.3.7 Bank accounts

  All IEEE standards development committees that have or intend to have bank accounts shall use the IEEE
  Concentration Banking Program as their only bank account. It is the policy of the IEEE that all bank
  accounts provide for the signatures of at least two volunteers (who shall be IEEE Member grade or higher in
  good standing).

  Bank accounts shall be closed six months after the standards development activity has ceased and if further
  projects are not planned. Closing bank statement(s) shall be submitted to the IEEE-SA BOG and the
  relevant IEEE Society with the final budget report.

  5.3.8 Auditing of finances

  All IEEE Standards Sponsor committees with actual or budgeted income or expenses of US $100,000 or
  more per year shall be audited by a professional independent source, outside the sponsoring organizational
  unit. The IEEE-SA BOG may select an outside accounting firm, another fully qualified resource, or the
  IEEE Operations Audit Department to arrange for and perform the audit. The selection of such auditors
  should avoid any conflict of interest with members of the relevant IEEE Standards Sponsor committees.

  IEEE Standards Sponsor committees with more than US $25,000 but less than US $100,000 in income or



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  expenses per year will be audited on a rotational basis. The IEEE Operations Audit Department will
  schedule and arrange for the audits of these Standards activities. For those committees not scheduled for an
  Operations Audit review in a given year, an informal review should be conducted by a committee composed
  of individuals who have no direct or indirect responsibility for the financial transactions of the committee.

  IEEE Standards meetings with a non-IEEE organizational unit, when the IEEE share of annual revenues or
  expenses is expected to exceed US $100,000 per year, are required to participate in the audit process. If the
  cooperating organizational units agree to the audit but refuse to share in the audit fee, the IEEE Sponsor
  will be assessed an audit fee of no more than 50% of the standard fee rate.

  All audit fees, as determined by the IEEE Operations Audit Department, shall be incorporated in the
  budgets of IEEE Standards Sponsor committees and displayed as a separate line on budget reports.

  The IEEE Operations Audit staff will assure that committee financials are audited in accordance with the
  guidelines developed for this purpose.

  5.3.9 Closings

  All IEEE standards development committees with meeting income or expenses of US $25,000 or greater per
  meeting shall complete the following tasks within six months of cessation of the IEEE standards
  development activities:

      —    Close bank accounts;

      —    Distribute any surplus as directed by the IEEE-SA BOG;

      —    Complete final financial reports;

      —    Complete the audit, if required.

  Many of these tasks are required by United States Internal Revenue Service regulations and by the audit
  process. Documentation concerning these tasks shall be reviewed by the IEEE-SA BOG and the relevant
  IEEE Society, where applicable.

  5.3.10 Legal compliance and other issues

  5.3.10.1 Compliance with laws

  All IEEE-SA standards meetings shall be conducted in compliance with all applicable laws, including
  antitrust and competition laws. In the course of IEEE standards development, participants shall not engage
  in fixing product prices, allocating customers, dividing sales markets, or other conduct that violates antitrust
  or competition laws.

  5.3.10.2 Discussion of litigation, patents, and licensing

  No discussions or other communications regarding the following topics shall occur during IEEE-SA
  working group standards-development meetings or other duly authorized IEEE-SA standards-development
  technical activities:

      —    The status or substance of ongoing or threatened litigation

      —    The essentiality, interpretation, or validity of patent claims




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      —    Specific patent license terms or other intellectual property rights, other than distribution of
           Accepted Letters of Assurance as permitted under the IEEE-SA patent policy (see 6.2 of the IEEE-
           SA Standards Board Bylaws)

  5.3.10.3 Discussion of relative cost/benefit analyses

  When comparing different technical approaches in IEEE-SA standards development technical activities,
  participants may discuss the relative costs (in terms, for example, of percentage increases or decreases) of
  different proposed technical approaches in comparison with the relative technical performance increases or
  decreases of those proposals. The relative costs may include any potentially Essential Patent Claims, but not
  the price at which compliant products may or will be sold. Technical considerations should be the main
  focus of discussions in IEEE-SA standards development technical activities.

  5.3.11 Naming meetings and use of IEEE logo

  This policy applies to naming all IEEE Standards Sponsor activities.

      —    The meeting title shall include “IEEE” for identification purposes.

      —    The name of a meeting shall be used in all publicity and all related material pertaining to the
           meeting, including electronic mail.

  IEEE Standards Sponsor activities shall have the IEEE logo on all promotional material and publications.

  5.3.12 Contracting

  IEEE Standards meetings may require contracts for various services. These services include but are not
  limited to hotel services and meeting management services.

  The IEEE Standards Sponsor committee or designee shall review all contracts connected with running a
  meeting. Contracts are subject to limitations as defined in IEEE Policy 12.6 and subclause 5.1.3 of the
  IEEE Standards Association Operations Manual.

  All meeting contracts shall be maintained in a readily accessible file at the IEEE Standards Department for
  audit purposes. It is the responsibility of the IEEE Standards Sponsor chair or working group chair to send a
  copy of the contract, when executed, to the IEEE Standards Department promptly for retention within the
  IEEE.

  In signing a contract, competitive bidding procedures shall be used whenever practical. If competitive
  bidding is not practiced, the IEEE Standards Sponsor committee or working group chair shall be prepared to
  provide justification.

  5.3.13 Insurance

  All Sponsor committees of IEEE Standards meetings with annual meeting budgets or expenses for the IEEE
  of US $25,000 or greater are responsible for obtaining necessary insurance coverage for their meetings if
  this is not covered in established contracts with meeting facilities. The IEEE can provide such coverage as
  stipulated in the IEEE Financial Operations Manual.

  5.3.14 Tax liability

  The IEEE is a non-profit organization, incorporated in New York State, USA. IEEE holds standards
  meetings throughout the world, and the legal and tax requirements can vary greatly for each site. In the



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  United States, the IEEE is exempt from paying income taxes and is also exempt from paying sales taxes on
  purchases in some states. Some states require sales taxes to be collected on-site for sales of books and other
  items. Order taking can be done without consideration of sales taxes.

  Outside of the USA, there are other sales taxes that may be required to be collected at IEEE Standards
  meetings for on-site sales, such as Value Added Tax (VAT) and the Goods & Services Tax (GST) in
  Canada. It may be required to collect such taxes on meeting fees. There are also exemptions from paying
  VAT and GST and the rules are unique by country. In most countries, but not all, the IEEE is exempt from
  paying income taxes.

  Because the laws and requirements of each country, state and province vary, it is very important that each
  IEEE Standards Sponsor committee contact the IEEE Tax Compliance Office (tax-staff@ieee.org) to find
  out the specific legal and tax requirements to operate at their site. This must be done very early in the
  planning stages of the conference; if planned properly, large savings may result.

  Financial support by industry of IEEE-SA Standards meetings and events is acceptable. All such support
  shall not violate the not-for-profit status of the IEEE.

  5.4 Standards ballot by the Sponsor

  A balloting group shall be one of the following:

      —    Individuals with voting privileges

      —    Persons with voting privileges who are of any category other than individual

  All IEEE Standards Association Sponsor ballots shall be conducted by the IEEE Standards Balloting
  Center.

  All IEEE Standards Association Sponsor ballots shall be conducted by electronic means.

  IEEE-SA shall maintain a single authoritative database for the list of individual or person participants
  related to Sponsor balloting. A request for a Sponsor ballot group membership list shall be submitted to the
  Sponsor Chair. The Sponsor Chair shall then forward such request to the IEEE-SA staff liaison for that
  Sponsor. The IEEE-SA staff liaison shall fulfill the request if the standard has been approved or upon its
  approval. For individual-based balloting, the supplied membership list shall consist of each member’s name,
  affiliation, and interest category. For entity-based balloting, the supplied membership list shall consist of
  each entity’s name, the entity’s designated primary voting representative (and, if designated, the alternate
  voting representative), entity affiliation, and entity interest category.

  5.4.1 Balloting group

  The balloting group shall meet the criteria in subclause 5.2.2.3 of the IEEE-SA Standards Board Bylaws.
  Balloting group members have an obligation to respond during the balloting period; failure to return a ballot
  may disqualify the balloter from participation in future balloting groups. The balloting group shall provide
  for the development of consensus by all interests significantly affected by the scope of the standard. This is
  achieved through a balance of such interests in the balloting group membership. Balance is achieved by not
  permitting any single interest category to comprise more than one-third of the Sponsor balloting group.

  No balloter shall have more than one vote.

  Balloters are required to classify their relationship to the balloting group relative to the scope of standards
  activity (for example, producer, user, and general interest). Where appropriate, additional classifications,


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  such as “testing laboratory” or “academic,” may be added by the Sponsor. This decision should be based on
  the effect the standard may have on participants not already recognized by the primary classifications.
  Individuals classify themselves based on their technical background, which may be related to their
  employment, job functions, or experience. IEEE-SA entity balloters are classified based on their entity
  interest as it relates to the scope of the standards project (for example, producer, consumer, general interest).
  No single classification (interest category) is permitted to constitute more than one-third of the balloting
  group membership. Care shall be taken to ensure that all classes of interest are represented to the extent
  possible.

  It is desirable to have representation of the materially interested and affected parties when reviewing the
  balance of the balloting group. Sponsors shall ensure balance prior to conducting a Sponsor ballot.
  Balloting groups of individuals should have at least 10 members to ensure adequate balance.

  Interested or affected persons who pay the appropriate fees associated with voting privileges may join the
  balloting group for a specific standards project. Once the ballot has begun, the balloting group is closed to
  additional participants. Even if IEEE-SA membership status changes during the balloting period or
  recirculation period, there shall be no change to the voting status of the balloter with respect to that ballot.

  Persons may also purchase the ballot draft for information only. Such persons may submit comments on the
  draft within the balloting period. However, they may not vote to approve, disapprove, or abstain on the
  proposed standard, nor are they entitled to receive any material other than the revised draft and responses to
  their comments.

  Comments from persons who are not members of the balloting group shall be given due consideration and
  an appropriate response.

  5.4.1.1 Balloting group made of entities

  Several distinct rules apply to Sponsor ballots by entities. For each balloting group, each such entity shall
  name one primary voting representative and, at the entity‟s option, one alternate voting representative to the
  Sponsor. Only a ballot from one of these representatives shall be accepted. If ballots are received from other
  parties, they shall not be counted; if ballots are received from both the primary voting representative and the
  alternate voting representative, only the vote from the primary voting representative shall be counted.

  Each primary and alternate voting representative can ballot for only one entity; no one representative can
  represent the interests of more than one entity. Each representative shall declare what entity he or she
  represents and that their voting shall be independent of any other entity.

  In order to be a voting member in a particular Sponsor ballot, each entity‟s representative shall declare that
  the interests of that entity are not knowingly represented by another member of the ballot body and that the
  entity is not knowingly funding directly or indirectly the participation of another person in that Sponsor
  ballot for the purposes of influencing the outcome of the vote. Any entity representative who cannot make
  such a declaration shall not be able to be a voting member in that particular Sponsor ballot.

  It is desirable to have representation of the materially interested and affected parties when reviewing the
  balance of the balloting group. Sponsors shall ensure balance prior to conducting a Sponsor ballot.
  Balloting groups shall have at least five members to ensure adequate balance.

  In the event that, through merger or acquisition or other similar event, an entity member of the IEEE-SA has
  its assets totally or substantially transferred to another entity, membership in the Sponsor ballot body may
  be transferred to the new entity, provided that the new entity is not already a member of the Sponsor ballot
  body.




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  5.4.2 Ballot invitations

  IEEE Standards balloting groups shall be formed by means of ballot invitations conducted by the IEEE
  Standards Balloting Center. A ballot invitation is sent to all parties known by the Sponsor to be interested
  in the subject matter of the proposed standard. Information about IEEE Standards Sponsor ballot invitations
  shall also be made available at the IEEE Standards website to allow additional interested parties the
  opportunity to participate.

  Ballot invitations shall remain open for a period of no less than 15 days. Those who respond affirmatively to
  the invitation during the period in which the ballot invitation is open and who otherwise fulfill the criteria
  in both subclause 5.2.2.3 of the IEEE-SA Standards Board Bylaws and 5.4.1 shall become members of the
  balloting group for that proposed standard. If a ballot does not open within 6 months of the invitation close
  date, the ballot group will be considered invalid and the Sponsor shall conduct a new invitation. Once the
  ballot has begun, no changes shall be made to the membership of the balloting group.

  5.4.3 Conduct of the standards balloting process

  When a proposed standard is ready for Sponsor balloting, a standards ballot shall be conducted by the
  Sponsor or Sponsor designee via the IEEE Standards Association balloting tools. The standards balloting
  process consists of Sponsor balloting group members casting votes, with or without accompanying
  comments, in one or more successive ballots until completion of the standards balloting process. Sponsor
  balloting group members shall submit votes and comments in a manner and in a format compatible with
  approved IEEE Standards Association balloting tools. Comments may be submitted against any normative or
  informative content of the ballot document, except for the Notice to Users section and the Sponsor Ballot
  Participant list.

  5.4.3.1 Ballot term

  Each ballot in the standards balloting process shall close at 11:59 p.m. ET4 on the closing date specified on
  the ballot.

  The Sponsor shall assess the return rate of the first ballot, where the return is the ratio of the sum of
  Sponsor balloting group members‟ Approve, Do Not Approve, and Abstain votes to the count of Sponsor
  balloting group members.

  In the first ballot, if the ballot has not achieved a 75% return by the specified closing date, the ballot may be
  extended to close when a 75% return is received. This extension for receipt of a 75% return shall not be
  longer than 60 days.

  5.4.3.2 Voting in the ballot

  The ballot shall provide the following vote choices to Sponsor balloting group members:

       a)      Approve (Affirmative). This vote may be accompanied by comments suggesting corrections and
               improvements. All comments shall be considered; making a change to the proposed standard as a
               result of the comments is left to the discretion of the Sponsor.

       b)      Do Not Approve (Negative with comment). This vote must be accompanied by one or more specific
               objections with proposed resolution in sufficient detail so that the specific wording of the changes
               that will cause the Do Not Approve voter to change his or her vote to Approve can readily be

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           determined. The Sponsor shall encourage the submission of comments with all Do Not Approve
           ballots.

           Balloters who vote Do Not Approve shall be permitted to differentiate those comments that caused
           their Do Not Approve vote from other comments that they may wish to submit. Any comments that
           are explicitly identified not to be part of the Do Not Approve vote shall be treated as comments
           associated with an Approve (Affirmative) vote.

           If no comments are submitted associated with the Do Not Approve vote, then the vote shall be
           counted in the total tally of votes as a Do Not Approve (Negative without comment).

           If i) all comments associated with a Do Not Approve vote are deemed by the Sponsor as out-of-
           scope and ii) the balloter is notified that the comment(s) are out-of-scope and such notifications are
           accompanied with specific rationale for such out-of-scope determination, then the vote may be
           counted in the total tally of votes as a Do Not Approve (Negative without comment).

           During a recirculation ballot, Do Not Approve voters may indicate acceptance of the response to
           any or all comments associated with their Do Not Approve vote. Each Do Not Approve voter shall
           be given an opportunity to review comment responses, determine if he or she is satisfied, either
           entirely or in part, and either to change his or her vote to Approve, to Abstain, or to retain his or
           her Do Not Approve vote.

      c)   Abstain. This category is provided to allow for ballot returns from Sponsor balloting group
           members who do not wish to vote Approve or Do Not Approve because of conflict of interest, lack
           of expertise, or other reasons.

  During a recirculation ballot, Sponsor balloting group members shall have an opportunity to cast votes or
  change their previously cast votes.

  5.4.3.3 Comments in the ballot

  The Sponsor shall consider all comments that are received by the close of the ballot. Comments received
  after the close of balloting will be provided to the Sponsor. The Sponsor shall acknowledge the receipt of
  these late comments to the initiator and take such action as the Sponsor deems appropriate.

  The Sponsor shall make a reasonable attempt to resolve all Do Not Approve votes that are accompanied by
  comments. Comments that advocate changes in the proposed standard, whether technical or editorial, may
  be accepted, revised, or rejected.

  Sponsors shall provide evidence of the consideration of each comment via approved IEEE Standards
  Association balloting tools.

  Until the proposed standard has achieved 75% approval, comments can be based on any portion of the
  proposed standard. Comments not based on the proposed standard may be deemed out-of-scope of the
  standards balloting process by the Sponsor.

  Once the proposed standard has achieved 75% approval, comments in subsequent ballots shall be based
  only on the changed portions of the balloted proposed standard, portions of the balloted proposed standard
  affected by the changes, or portions of the balloted proposed standard that are the subject of unresolved
  comments associated with Do Not Approve votes. If comments are not based on the above criteria, the
  comments may be deemed out-of-scope of the recirculation. Such comments need not be addressed in the
  current standards balloting process and may be considered for a future revision of the standard.




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  Comments addressing grammar, punctuation, and style, whether attached to an Approve or a Do Not
  Approve vote, may be referred to the publications editor for consideration during preparation for
  publication. It should be borne in mind that proposed standards are professionally edited prior to
  publication.

  Comments received before the close of ballot from participants who are not in the Sponsor balloting group,
  including from the mandatory coordination entities, require acknowledgement sent to the commenter and
  presentation to the Sponsor comment resolution group for consideration. The Sponsor shall send an
  explanation of the disposition of the mandatory coordination comments to the commenter.

  5.4.3.4 Recirculation ballots

  Changes may be made in the proposed standard to resolve Do Not Approve votes that are accompanied by
  comments or for other reasons. All substantive changes made since the last balloted proposed standard shall
  be identified and recirculated to the Sponsor balloting group. All unresolved Do Not Approve votes with
  comments shall be recirculated to the Sponsor balloting group. The verbatim text of each comment, the
  name of the Do Not Approve voter, and a response by the Sponsor conducting the resolution of comments
  shall be included in the recirculation ballot package. Responses to comments that are not accepted verbatim
  shall include sufficient detail for Sponsor balloting group members to understand the rationale for rejection
  of the comment or revision of the change proposed by the commenter.

  Further resolution efforts, including additional recirculation ballots, shall be required if Do Not Approve
  votes with new comments within the scope of the recirculation are submitted.

  The Sponsor is not required to conduct a recirculation ballot solely for Do Not Approve (Negative without
  comment) votes.

  5.4.3.5 Completion of the standards balloting process and submittal to RevCom

  A minimum of 75% of those voting Approve or Do Not Approve (Negative with comment) must approve the
  draft in order to submit the ballot result to the IEEE-SA Standards Board. In the event that 30% or more of
  the returned ballots are Abstentions, the standards balloting process shall be considered invalid.

  In the event that a 75% return cannot be obtained, the standards balloting process is considered to have
  failed and further disposition of the proposed standard shall be the responsibility of the Sponsor.

  Once all required recirculations have been completed and 75% approval has been achieved, the IEEE
  requirements for consensus have been met. Efforts to resolve Do Not Approve votes may continue for a brief
  period; however, if such resolution is not possible in a timely manner, the Sponsor should forward the
  submittal to RevCom because the IEEE has an obligation to the majority to review and publish the proposed
  standard quickly.

  Copies of all unresolved Do Not Approve votes, together with the reasons given by the Do Not Approve
  voters and the responses by the Sponsor, shall be included with the ballot results submitted to RevCom.

  The Sponsor shall, if not included in a recirculation package, provide to the Do Not Approve voter and to
  RevCom an explanation why any comments associated with a Do Not Approve vote were not required to be
  recirculated. In order for a Do Not Approve vote to be changed to an Approve or Abstain vote, the Sponsor
  shall obtain and provide to RevCom written confirmation from each voter (by letter, fax, or electronic mail)
  that indicates concurrence with any change of his or her vote. Any Do Not Approve vote with comment that
  RevCom is asked to consider as a Do Not Approve (Negative without comment) shall be explained to
  RevCom.




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  Proposed standards receiving a significant number of unresolved Do Not Approve votes should be
  considered by the Sponsor for trial-use (see 5.7).

  5.4.3.6 Death or incapacity of a member of the Sponsor balloting group

  In the event that the IEEE Standards Department receives documentation of the death or incapacity of a
  member of a Sponsor balloting group by the closing date for the first ballot, that person shall be
  administratively removed from the Sponsor balloting group. In the event that such documentation is received
  following the closing date for the first ballot, the Sponsor balloting group member shall be deemed
  unavailable for balloting purposes and shall not be sent any further balloting material. Comments associated
  with Do Not Approve votes that are received before the Sponsor balloting group member became unavailable
  will be treated normally; note that confirmation of resolution is not expected. However, no tally shall be
  recalculated as a result of such a determination of unavailability, including ballots, abstention rate, return,
  or approval rate.

  5.4.3.7 Comments received as a result of a public review

  If a comment is received as a result of a public review process, that comment will be addressed by the
  Sponsor and a disposition returned to the commenter, along with information concerning their right of
  appeal.

  5.4.4 Mandatory coordination

  The Sponsor shall coordinate via circulation of drafts with the following entities:

      —    SCC14 (Standards Coordinating Committee on Quantities, Units, and Letter Symbols)

      —    IEEE Standards editorial staff

  The Sponsor shall indicate the IEEE Registration Authority Committee (RAC) as a mandatory coordination
  entity when the draft is submitted for Sponsor ballot if

      —    The PAR indicates the possible registration of objects or numbers to be included in or used by the
           project;

      —    It becomes apparent through development of the draft that registration of objects or numbers will
           be included in or is used by the project;

      —    Requested by the RAC.

  Comments from these entities shall be given appropriate consideration and response. At the time of project
  submittal to the IEEE-SA Standards Board for consideration for approval, the Sponsor shall supply the
  most recent coordination comments and indicate either acceptance or a request for a waiver (see 4.2.3.2).

  5.4.5 IEEE 100

  IEEE 100, The Authoritative Dictionary of IEEE Standards Terms, is a compendium of terms from both
  approved IEEE standards and non-IEEE sources. Terms given in the definitions clauses of approved IEEE
  standards shall be added to IEEE 100.




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  5.5 Submission of proposed standards to the IEEE-SA Standards Board

  The Sponsor shall submit all required documentation, including a complete copy of the last balloted draft,
  in accordance with the most current version of the IEEE-SA Standards Board Working Guide for Submittal
  of Proposed Standards, to the RevCom Administrator. This submittal shall be made prior to the submittal
  deadline specified. For the first three quarterly meetings of the year, the submittal deadline shall be at least
  40 days before the meeting of the IEEE-SA Standards Board. For the last quarterly meeting of the year, the
  submittal deadline shall be at least 50 days before the meeting of the IEEE-SA Standards Board.

  When the proposed standard is considered at a meeting of RevCom, it may be necessary for the Sponsor to
  be represented at that meeting, particularly if there were unresolved negative votes during the balloting (see
  4.2.3.3 and 5.4.3.2) and/or if RevCom members submit negative comments prior to the RevCom meeting
  (see 4.2.3.4).

  Approved IEEE standards may be submitted for adoption by other organizations (see also 5.6). As part of
  the adoption process, the adopting organization may receive comments on the technical content of the
  standard. These comments should be sent to the IEEE Standards Department. The comments will then be
  referred to the Sponsor for a response. Responses shall be directed to the commenter, with a copy sent to the
  IEEE Standards Department. If, in the opinion of the Sponsor, such comments warrant an amendment or
  revision to the approved IEEE standard, the Sponsor shall submit a PAR.

  5.6 Adoption

  The IEEE is a focal point for various technologies and is willing to share its expertise with standards
  developers worldwide. One method for doing this is through adoption.

  Adoption of IEEE standards by national, regional, and international standards organizations is encouraged.
  This adoption shall be a formal process that may include a reciprocal agreement between the IEEE and the
  organization adopting the IEEE standard. The following subclauses discuss the methods for processing
  adoption requests.

  5.6.1 Process for adoption of IEEE Standards

  Arrangements for non-IEEE organizations to adopt IEEE standards are established in binding memoranda of
  understanding. These memoranda of understanding shall be executed by the Managing Director, Standards,
  and the responsible person in the other organization. IEEE staff shall have responsibility for negotiating the
  terms and conditions of these agreements. Requests for adoption of IEEE standards shall be forwarded to
  the Senior Administrator-Business Development, IEEE Standards Department.

  Adopting organizations are encouraged to participate in future updates of the originating IEEE standard.

  5.6.2 Process for adoption of non-IEEE Standards

  5.6.2.1 Sponsor identification

  A Sponsor, as defined by subclause 5.2.2 of the IEEE-SA Standards Board Bylaws, shall assume
  responsibility for coordinating the adoption of a non-IEEE standard by the IEEE. The Sponsor shall be
  responsible for the standard upon adoption and until transfer to inactive status in accordance with all IEEE
  Standards policies and procedures.




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  5.6.2.2 Project initiation

  A Sponsor shall submit a PAR for the adoption of a non-IEEE standard to the IEEE-SA Standards Board to
  initiate an adoption. At the same time, the Sponsor shall contact the Senior Administrator-Business
  Development, IEEE Standards Department, to initiate copyright negotiations.

  5.6.2.3 Draft development

  The adoption of a non-IEEE standard shall not include any revisions or changes to the actual document
  being adopted. However, IEEE exceptions addressing any differences between the IEEE adoption and the
  non-IEEE standard may be added to either the front matter of the document or in an annex.

  5.6.2.4 Sponsor ballot

  The ballot shall include a cover letter explaining the reasons for the adoption, the options available to the
  balloters when casting their votes, and the provisions for consideration of comments by the developer of the
  non-IEEE standard. The Sponsor ballot shall meet the requirements outlined in 5.4.

  Ballot comments and any Sponsor responses shall be forwarded to the developer of the non-IEEE standard
  for consideration.

  5.7 Trial-Use standards

  Trial-Use standards are effective for not more than two years from the date of publication. In the absence of
  comments received in the trial period, the document is subject to adoption as a full-status standard by the
  IEEE-SA Standards Board upon recommendation of the Sponsor. Trial-Use standards shall contain a
  published scheduled cutoff date for receipt of comments and for further revision and approval action. This
  cutoff date shall be at least six months before the end of the trial-use period for the standard.

  The approval period for a trial-use standard that is adopted as a full-status standard without change shall be
  for a total of ten years from the start of the trial-use period. If the trial-use period demonstrates that a trial-
  use standard has to undergo changes to become a full-status standard, a PAR for revision of an existing
  standard shall be prepared.

  Trial-Use standards may result from one of the following:

      a)   At the Standards Development Level. When a draft has been generated that generally satisfies the
           standards-developing group (i.e., subcommittee or working group) but needs input from a very
           broad constituency, such a draft may be processed as an IEEE Trial-Use Standard. For approval,
           such a draft requires a letter ballot of the Sponsor and approval by the IEEE-SA Standards Board
           as a trial-use standard.

      b)   At the Sponsor Level. When a Sponsor is unable to resolve negative ballots to a satisfactory level,
           or uncertain aspects of the document justify preliminary distribution, it may consider submission of
           the draft to the IEEE-SA Standards Board as a trial-use standard.

      c)   At the IEEE-SA Standards Board Level. When the IEEE-SA Standards Board cannot attain a
           suitable level of approval for a draft submitted for adoption as an IEEE Standard, it may decide to
           approve it as a trial-use standard.

  5.8 Appeals

  5.8.1 Appeals pool


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  The IEEE-SA Standards Board Chair shall select six to nine members of the IEEE-SA Standards Board to
  serve as the appeals pool.

  The Past Chair of the IEEE-SA Standards Board shall serve as the SASB Vice Chair for Appeals. If the
  SASB Vice Chair for Appeals has a conflict regarding the subject matter of an appeal, the IEEE-SA
  Standards Board Chair shall appoint another member of the IEEE-SA Standards Board to serve as the
  SASB Vice Chair for Appeals for that particular appeal.

  Members of the appeals pool will serve until a new appeals pool is appointed.

  5.8.2 Appeal brief

  The appellant shall file a written appeal brief with the Secretary of the IEEE-SA Standards Board within 30
  days after the date of notification of action of the IEEE-SA Standards Board or at any time with respect to
  inaction or following an appeal panel final decision from a subordinate committee. The appellant shall first
  have exhausted the appeals procedures of any relevant subordinate committees prior to filing an appeal with
  the IEEE-SA Standards Board. The appeal brief shall state the nature of the objection(s) including any
  adverse effects, the clause(s) of the procedures or the standard(s) that are at issue, actions or inaction that
  are at issue, and the specific remedial action(s) that would satisfy the appellant‟s concerns. Previous efforts,
  including all subordinate appeals, to resolve the objection(s) and the statement of outcome/decision of each,
  including a sequence of events of these efforts, shall be provided. The appellant shall include documentation
  supporting all statements in the appeal brief.

  All issues regarding the action or inaction of the SASB shall be filed together in one appeal.

  The Secretary shall send the appellant a written acknowledgment of receipt of the appeal brief within five
  days of such receipt. The IEEE-SA Standards Board Chair and the SASB Vice Chair for Appeals (―SASB
  Appeal Officers‖) shall review the appeal brief and determine within ten days of receipt of the appeal brief
  whether the appeal should be heard by the IEEE-SA Standards Board or should be referred to the IEEE-SA
  BOG or should be returned to the appellant with instructions to file the appeal as follows: (i) if the appeal
  deals with ethical issues, with the IEEE Ethics and Member Conduct Committee or IEEE-SA Standards
  Conduct Committee, as appropriate; (ii) if the appeal deals with technical issues, with the Sponsor of the
  body that made the decision; or (iii) if the appellant has not exhausted the appeals procedures of a relevant
  subordinate committee, then with such subordinate committee. If the IEEE-SA Standards Board Chair has a
  conflict regarding the subject matter of the appeal, the SASB Chair shall appoint a non-conflicted member
  of AdCom to serve as the second Appeal Officer.

  If the SASB Appeal Officers determine that the IEEE-SA BOG should hear the appeal, the Secretary of the
  IEEE-SA Standards Board shall notify the appellant and the appellee (the chair of the committee at issue) of
  that fact within five days of receipt of the notice from the SASB Appeal Officers that the IEEE-SA BOG
  will be hearing the appeal. The appeal shall be referred to the IEEE-SA BOG and adjudicated according to
  IEEE-SA BOG processes (see subclause 4.4 of the IEEE Standards Association Operations Manual). If the
  IEEE-SA BOG hears an appeal that originated from a referral from the IEEE-SA Standards Board, the
  results of that appeal shall be reported to the Secretary of the IEEE-SA Standards Board.

  If the SASB Appeal Officers determine that the IEEE-SA Standards Board should hear the appeal, the
  Secretary shall, within 20 days of receipt of the appeal brief, send the appellee a copy of the appeal brief
  and acknowledgment, and shall send the appellant and the appellee a written notice of the time and location
  of the hearing (“hearing notice”) with the Appeal Panel.

  The hearing with the Appeal Panel shall be scheduled at the location set for, and during the period of, the
  first IEEE-SA Standards Board meeting series that is at least 60 days after mailing of the hearing notice by
  the Secretary. New evidence meeting the requirements of 5.8.5 shall be provided at least two weeks before


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  the date of the Appeal Panel hearing.

  5.8.3 Reply brief

  Within 45 days of receipt of the hearing notice, the appellee may send the appellant and Secretary a written
  reply brief, which specifically and explicitly addresses each allegation of fact in the appeal brief to the
  extent of the appellee‟s knowledge. If the appellee furnishes a reply brief, the brief shall include
  documentation supporting all statements contained in the reply brief.

  5.8.4 Appeal Panel

  The IEEE-SA Standards Board Chair shall appoint from the appeals pool an Appeal Panel consisting of a
  chair and two other members who have not been directly involved in the matter in dispute, and who will not
  be materially or directly affected by any decisions made concerning the dispute ("Appeal Panel"). At least
  two members shall be acceptable to the appellant and at least two shall be acceptable to the appellee. If the
  parties to the appeal cannot agree on an Appeal Panel within a reasonable amount of time, the matter shall
  be referred to the IEEE-SA Standards Board, which shall appoint the members of the Appeal Panel. If an
  Appeal Panel member resigns or is removed from the Appeal Panel at any time before the appeal hearing,
  then the IEEE-SA Standards Board Chair shall appoint a replacement from the appeals pool. The
  replacement shall be subject to the acceptability criteria described above.

  To ensure continuity of the appeals process, a specific Appeal Panel will remain impaneled until the
  publication of the Appeal Panel‟s final decision(s).

  5.8.5 Conduct of the hearing

  The number of participating (i.e., speaking) representatives for each of the parties to the appeal is limited to
  a maximum of three (3). Other individuals may attend the hearing, but will not be permitted to address, or be
  addressed by, the Appeal Panel or either of the parties to the appeal at any time (including during the
  question and answer period). No recordings or verbatim transcriptions of the hearing are allowed, except by
  the IEEE-SA at its sole discretion.

  The Appeal Panel may call an Executive Session before, during the course of, or following an appeal
  hearing to consider its action on a specific appeal.

  No party to an appeal may communicate with any member of the Appeal Panel regarding the appeal while
  the matter is pending (i.e., from the time of filing of the appeal brief to finalization of the Appeal Panel
  decision).

  The appellant has the burden of demonstrating adverse effects, improper action(s) or inaction, and the
  efficacy of the requested remedial action. Each party may adduce other pertinent arguments, and members of
  the Appeal Panel may address questions to individuals. The Appeal Panel shall only consider
  documentation included in the appeal brief and reply brief, unless

      a)   Significant new evidence has come to light; and

      b)   Such evidence reasonably was not available to the appellant or appellee, as appropriate, at the time
           of filing; and

      c)   Such evidence was provided by the appellant or appellee, as appropriate, to the other parties as
           soon as it became available.

  Prior to the hearing, the members of the Appeal Panel may convene to review the ground rules before the



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  participants appear.

  5.8.6 Appeal Panel decision

  The Appeal Panel shall not consider technical or make findings with respect to ethical rules, but shall limit
  its consideration to procedural matters. The Appeal Panel shall render its decision, based upon majority vote
  of the Appeal Panel (Appeal Panel members shall vote to find in favor of the appellant or the appellee and
  shall not abstain), in writing within 30 days of the hearing, stating findings of fact and conclusions, with
  reasons therefore, based on a preponderance of the evidence. Consideration may be given to the following
  positions, among others, in formulating the decision:

      a)   Finding for the appellant, remanding the action to the appellee, with a specific statement of the
           issues and facts in regard to which fair and equitable action was not taken;

      b)   Finding against the appellant, with a specific statement of the facts that demonstrate that appellant
           failed to meet its burden to demonstrate that fair and equitable treatment of the appellant was not
           taken;

      c)   Finding that new, substantive evidence has been introduced, and remanding the entire action to the
           appropriate committee for reconsideration.

  The Appeal Panel Chair, through the Secretary, shall notify the appellant, the appellee, and members of the
  IEEE-SA Standards Board in writing of the decision of the Appeal Panel.

  If an Appeal Panel member resigns or is removed after a hearing, then the remaining two members of the
  Appeal Panel may issue a decision if their decision is unanimous. If it is not unanimous, then the IEEE-SA
  Standards Board Chair shall appoint a replacement from the appeals pool and a re-hearing shall be
  conducted during the next IEEE-SA Standards Board meeting series.

  5.8.7 Request for re-hearing of the Appeal Panel decision

  The decision of the Appeal Panel shall become final 30 days after it is issued, unless one of the parties files
  a written notice of request for re-hearing prior to that date with the Secretary, based on new evidence,
  provided such new evidence existed at the time of the hearing, but was not reasonably available to either the
  appellant or appellee, as appropriate, at the time of the hearing. In such case, the decision of the Appeal
  Panel shall be stayed pending review by the SASB Appeal Officers within 20 days of receipt of the written
  request. The review shall decide

      a)   To adopt the report of the Appeal Panel, and thereby deny the request for re-hearing; or

      b)   To direct the Appeal Panel to conduct a re-hearing; or

      c)   At its discretion, to ask the IEEE-SA Standards Board to consider the matter.

  Only one re-hearing can be conducted per appeal.

  If the appeal was delegated to the IEEE-SA Standards Board by the IEEE-SA BOG, the decision shall also
  be sent to the Secretary of the IEEE-SA BOG. Appeals from a decision of the SASB Appeal Officers to
  deny the request for a re-hearing or from the decision of the Appeal Panel after a re-hearing shall be referred
  to the IEEE-SA BOG.

  5.8.8 BOG appeal




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  The SASB Appeal Panel‟s final decision can be appealed to the IEEE-SA BOG in writing to the Secretary
  of the IEEE-SA BOG within 30 days after the Appeal Panel decision becomes final on the basis of a
  perceived error in the Appeal Panel process or of a perceived error in the Appeal Panel decision. Such
  appeal shall proceed in accordance with the IEEE Standards Association Operations Manual.

  5.8.9 Informal settlement

  The IEEE-SA encourages settlement of disputes at any time if the settlement is consistent with the
  objectives of the IEEE-SA Policies and Procedures. Any settlement (to which the parties agree in writing)
  that is consistent with these P & P, or an agreement to withdraw the appeal, will terminate the appeal
  process.




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  6. Copyright, commercial terms and conditions, patents, and standard
  structure

  6.1 Copyright

  The IEEE owns the copyright of draft and approved IEEE standards (see 7.2 of the IEEE-SA Standards
  Board Bylaws).

  Contributions made by participants in an IEEE-SA standards development meeting, whether the
  contributions are Published or not, are subject to the IEEE-SA Copyright Policy set forth in Clause 7 of the
  IEEE-SA Standards Board Bylaws.

  6.1.1 Project Authorization Request (PAR)

  At the time a PAR is submitted for approval, any known previously Published material intended for
  inclusion in the proposed IEEE standard shall be identified on the PAR. The Working Group Chair is
  responsible for obtaining written permission to use all previously Published material prior to the start of the
  initial ballot or prior to the next recirculation ballot if the excerpted material is inserted during comment
  resolution.

  6.1.2 Contributions from previously Published sources

  Participants in an IEEE Standards group who submit contributions containing excerpted content from
  previously Published sources shall notify the Chair of the need for permission, and should assist the Chair
  in obtaining that permission. Working Group Chairs are responsible for requesting and obtaining
  permission from external entities and for forwarding the completed response forms to the IEEE.

  IEEE Permission Form Letters should be used to request and grant such permissions. Permission Form
  Letters to use material unchanged or modified are available online. Agreements that do not conform to the
  IEEE Permission Form Letters are possible, but such requests shall be in writing and shall be approved by
  IEEE-SA staff.

  6.1.3 Drafts of proposed IEEE standards

  All drafts shall be clearly labeled to reflect their status as unapproved.

  6.1.3.1 Draft copyright statements

  All drafts shall carry a copyright statement that:

      a)   The document is an unapproved draft of a proposed IEEE standard

      b)   The document is subject to change

      c)   The document shall not be utilized for conformance/compliance purposes.

  An IEEE draft standard may be distributed without charge to the participants for that IEEE standards
  development project. Other persons seeking permission to reproduce the document, in whole or in part, must
  obtain permission from the IEEE Standards Activities Department.

  The IEEE Standards Style Manual provides example text to meet the above requirements.



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  6.2 Commercial terms and conditions

  Provisions involving business relations between buyer and seller such as guarantees, warranties, and other
  commercial terms and conditions shall not be included in an IEEE standard. The appearance that a standard
  endorses any particular products, services, or companies shall be avoided. Therefore, it generally is not
  acceptable to include manufacturer lists, service provider lists, or similar material in the text of an IEEE
  standard. Where a sole source exists for essential equipment, materials, or services necessary to comply with
  or to determine compliance with the standard, it is permissible to supply the name and address of the source
  in a footnote as long as the words ―or the equivalent‖ are added to the reference.

  6.3 Patents

  The patent policy is set forth in clause 6 of the IEEE-SA Standards Board Bylaws and is incorporated
  herein by reference.

  Letters of Assurance are to be e-mailed, faxed, or mailed to the IEEE Standards Association (to the attention
  of the PatCom Administrator). The PatCom Administrator shall accept each Letter of Assurance that is
  complete and is received from an individual within the issuing organization whose title suggests authority
  for intellectual property and legal matters. The PatCom Administrator's duties with regard to Letters of
  Assurance shall be purely ministerial (i.e., without regard to or exercise of the PatCom Administrator's
  discretion regarding the content of the Letters of Assurance received). For each Accepted Letter of
  Assurance, the PatCom Administrator shall record the date on the signed Letter of Assurance and the date
  upon which the IEEE accepted such. The chair or the chair's delegate of an IEEE standards-developing
  working group or the chair of an IEEE standards Sponsor shall request a Letter of Assurance from Affiliates
  specifically excluded on an Accepted Letter of Assurance.

  Upon written request, the IEEE will make available copies of any Accepted Letter of Assurance and its
  attachments. Letters received after 31 December 2006 shall be posted on the IEEE-SA website.

  6.3.1 Public notice

  The following notice shall appear in all draft and approved IEEE standards.

           Attention is called to the possibility that implementation of this standard may require use of
           subject matter covered by patent rights. By publication of this standard, no position is taken by the
           IEEE with respect to the existence or validity of any patent rights in connection therewith. If a
           patent holder or patent applicant has filed a statement of assurance via an Accepted Letter of
           Assurance, then the statement is listed on the IEEE-SA web site (see
           http://standards.ieee.org/about/sasb/patcom/patents.html). Letters of Assurance may indicate
           whether the Submitter is willing or unwilling to grant licenses under these patent rights without
           compensation or under reasonable rates, with reasonable terms and conditions that are
           demonstrably free of any unfair discrimination to applicants desiring to obtain such licenses.

           Essential Patent Claims may exist for which a Letter of Assurance has not been received. The IEEE
           is not responsible for identifying Essential Patent Claims for which a license may be required, for
           conducting inquiries into the legal validity or scope of Patents Claims, or determining whether any
           licensing terms or conditions provided in connection with submission of a Letter of Assurance, if
           any, or in any licensing agreements are reasonable or non-discriminatory. Users of this standard are
           expressly advised that determination of the validity of any patent rights, and the risk of
           infringement of such rights, is entirely their own responsibility. Further information may be
           obtained from the IEEE Standards Association.

  6.3.2 Call for patents


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  The chair or the chair‟s delegate of an IEEE standards-developing working group or the chair of an IEEE
  standards Sponsor shall be responsible for informing the participants at a meeting that if any individual
  believes that Patent Claims might be Essential Patent Claims, that fact should be made known to the entire
  working group and duly recorded in the minutes of the working group meeting. This request shall occur at
  every standards-developing meeting once the PAR is approved by the IEEE-SA Standards Board.

  The chair or the chair's delegate shall ask any patent holder or patent applicant of a Patent Claim that might
  be or become an Essential Patent Claim to complete and submit a Letter of Assurance in accordance with
  Clause 6 of the IEEE-SA Standards Board Bylaws. Information about the draft standard will be made
  available upon request.

  6.3.3 Inactive standards

  All active IEEE standards are subject to periodic review for revision within ten years of IEEE-SA Standards
  Board approval or transfer to inactive status (see clauses 2.2 and 5.3 of the IEEE-SA Standards Board
  Bylaws and 9.2). Thus, any standard that incorporates patented technology may at some point in time be
  transferred to inactive status. Clause 6 of the IEEE-SA Standards Board Bylaws contains policies
  concerning the period of validity for any Letter of Assurance received from a party regarding an Essential
  Patent Claim.

  6.3.4 Multiple Letters of Assurance and Blanket Letters of Assurance

  A Submitter may provide the IEEE with a Blanket Letter of Assurance for a specific [Proposed] IEEE
  Standard that covers all Essential Patent Claims the Submitter may currently or in the future have the ability
  to license. A Submitter may submit separate Letters of Assurance providing different licensing positions for
  different potential Essential Patent Claims.

  Over time, a Submitter may also provide multiple assurances for a given Patent Claim by submitting
  multiple Letters of Assurance for such claim. For Essential Patent Claims, each such Letter of Assurance
  shall be binding on the Submitter. Each potential licensee may choose to invoke the terms of any applicable
  Letter of Assurance accepted by the IEEE, with one exception: If a Submitter has signed and submitted a
  Letter of Assurance specifically identifying a Patent Claim before or concurrently with signing and
  submitting a Blanket Letter of Assurance, the Blanket Letter of Assurance cannot be invoked as to the
  specified Patent Claim. (The Submitter, however, may submit a separate specific Letter of Assurance
  offering the Blanket Letter of Assurance terms for the specified Patent Claim.) The intention of this
  paragraph is to permit the Submitter to offer alternative assurances, and to permit the potential licensee to
  choose from among the alternative assurances offered.

  If, after providing a Blanket Letter of Assurance, the Submitter acquires an Essential Patent Claim or a
  controlling interest in an entity that owns or controls an Essential Patent Claim, the existing Submitter‟s
  Blanket Letter of Assurance shall apply to such acquired Essential Patent Claims unless the acquired entity
  or the prior holder of the acquired Essential Patent Claim has submitted a Letter of Assurance before the
  acquisition. Any Blanket Letter of Assurance submitted by the acquired entity or the prior holder of the
  acquired Essential Patent Claim before the acquisition shall continue to apply to acquired Essential Patent
  Claims covered by such assurance (but not to the acquirer‟s Essential Patent Claims). Letters of Assurance
  covering specified Essential Patent Claims shall continue to apply to specified Essential Patent Claims,
  whether acquired in the acquisition or held by the acquirer before the acquisition, as provided in this
  Operations Manual. Nothing in this paragraph shall prevent an acquiring party from asking a seller of an
  acquired Essential Patent Claim or an acquired entity to submit additional Letters of Assurance before
  closing of the acquisition.




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  6.3.5 Applicability of Letters of Assurance to Amendments, Corrigenda, Editions, or
  Revisions

  An Accepted Letter of Assurance referencing an existing standard, amendment, corrigendum, edition, or
  revision will remain in force for the application of the Essential Patent Claim(s) to the technology specified
  in another amendment, corrigendum, edition, or revision of the same IEEE Standard but only if (a) the
  application of the technology required by the amendment, corrigendum, edition, or revision of the same
  IEEE Standard has not changed from its previous usage and (b) the same Essential Patent Claims covered by
  the prior Accepted Letter of Assurance remain Essential Patent Claims in the same IEEE Standard or
  revision thereof.

  The Working Group Chair shall initiate a request for a new Letter of Assurance from a known Submitter
  when re-using portions of, or technologies specified in, an existing [Proposed] IEEE Standard, amendment,
  corrigendum, edition, or revision referenced in an Accepted Letter of Assurance in a different [Proposed]
  IEEE Standard.

  6.4 IEEE standard document structure

  6.4.1 Normative and informative

  Normative material is information required to implement the standard and is therefore officially part of the
  standard. Informative material is provided for information only and is therefore not officially part of the
  standard.

  6.4.2 Frontmatter

  The frontmatter of an IEEE standard is informative.

  6.4.3 Notes and footnotes

  Notes and footnotes are informative except as noted in subclauses 6.4.4 and 6.4.5.

  The IEEE Standards Style Manual provides further information about notes and footnotes.

  6.4.4 Notes to tables and footnotes to tables

  A note to a table is informative. A footnote to a table is normative.

  6.4.5 Notes to figures and footnotes to figures

  A note to a figure is informative. A footnote to a figure is normative.

  6.4.6 Normative references

  Normative references are documents that contain additional material that is necessary to implement the
  standard. Thus, normative references are indispensable when applying the standard. Each normative
  reference shall be cited, and the role and relationship of each normative reference shall be explained in the
  body of the standard.

  IEEE and other nationally or internationally recognized standards developing organizations (SDOs) are
  preferred as the source of normative references. Documents published by other organizations may be cited
  provided the document is publicly available at a cost that is not unreasonable at the date of publication of
  the IEEE standard. Documents that are cited as normative references, but that are developed by



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  organizations that are not nationally or internationally recognized SDOs, shall include the edition or date of
  publication in the citation. References to standards that are not active are permitted, provided such standards
  are publicly available at the date of publication of the IEEE standard. Draft standards may be used as
  normative references if they are unambiguously dated, readily available, and retrievable at the date of
  publication of the IEEE standard. Please consult with an IEEE Standards project editor if such inclusion is
  necessary.

  References to specific clauses or subclauses, tables, and figures of another document shall include the date
  of said document.

  6.4.7 Shall, should, may, and can

  The word shall indicates mandatory requirements strictly to be followed in order to conform to the standard
  and from which no deviation is permitted (shall equals is required to).

  The word should indicates that among several possibilities one is recommended as particularly suitable,
  without mentioning or excluding others; or that a certain course of action is preferred but not necessarily
  required (should equals is recommended that).

  The word may is used to indicate a course of action permissible within the limits of the standard (may
  equals is permitted to).

  The word can is used for statements of possibility and capability, whether material, physical, or causal (can
  equals is able to).




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  7. IEEE participation on committees outside the IEEE

  7.1 IEEE representatives on ANSI Accredited Standards Committees (ASCs)

  7.1.1 General

  The IEEE is represented on ASCs in which it has a substantial interest. This provides IEEE an opportunity
  to have a direct influence on the development of an American National Standard generated by the ASC.
  Positions have been allotted the IEEE as a substantially interested standards-developing organization.

  7.1.2 Assignment of positions

  The positions allotted to the IEEE are assigned by the IEEE-SA Standards Board to IEEE Societies having a
  substantial interest in the work of an ASC. The Societies reassign the positions to their substantially
  interested Technical Committees (TCs). In making these recommendations to ASCs where the IEEE is the
  secretariat and responsible for balance, the IEEE Societies shall attempt to achieve overall balance within
  the ASC through the selection of appropriate IEEE delegates.

  7.1.3 Appointment of IEEE representatives

  IEEE representatives on ASCs are appointed by the IEEE-SA Standards Board from nominations submitted
  by the appropriate Society or SCC that provides technical instruction to the representative.

  7.1.4 Instructions to IEEE representatives on ASCs

  7.1.4.1 Source of instructions

  IEEE representatives and their alternates shall utilize the expertise of the members of their sponsoring group
  or TC to develop an IEEE position on proposed standards being considered by their ASC. They shall report
  at meetings of their Sponsor on the activities of their ASC, either in person or by a written report to be
  included in the minutes of the meeting, to inform the members of the work of the standards committee. They
  shall solicit comments and suggestions from interested members of their Sponsor in order to establish their
  position on projects under consideration, and to identify substantially interested members to whom they can
  turn for advice and recommendations on short notice. They shall work with the chair and the IEEE-SA
  Standards Board liaison representative of their Sponsor to ensure that they act in accordance with the
  consensus within the Sponsor. In the absence of instructions, they shall use their best judgment based on
  their experience as a member of their Sponsor to support the position with which they believe the
  membership would agree. All ballot actions taken by IEEE representatives shall be reported to the
  sponsoring committee. On all policy matters coming before this committee, the representative shall solicit
  instructions from the IEEE-SA Standards Board.

  7.1.5 Coordination within the IEEE

  Where there are two or more representatives, the IEEE-SA Standards Board will appoint a head of
  delegation, generally from the TC having the primary interest in the ASC. The head of delegation is
  responsible for supervising the work of the IEEE delegation, particularly the coordination of the positions
  of the representatives and alternates based on the instructions from their respective Sponsors. A unified
  position shall be developed to be supported unanimously by the IEEE delegation. In the case of letter
  ballots, various methods may be used to secure the unanimous vote:

      a)   Each representative and alternate may send his or her completed ballot to the head of delegation
           who mails it in when a unanimous vote has been obtained.


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      b)   Each representative and alternate notifies the head of delegation how he or she intends to vote, or
           sends a copy of his or her executed ballot. The head of delegation notifies them to mail their
           ballots when the vote is unanimous.

      c)   The head of delegation sends his or her recommended vote with reasons to the other members of
           the delegation with a deadline for returning objections. If no objections are received within the
           time limit, the head of delegation directs the members to execute their ballots in accordance with
           the recommendation.

  Unanimity is required within the IEEE delegation because the members represent IEEE and not their
  individual Sponsors. Positions are assigned to the Sponsors in order to provide a recognized spokesperson
  from the Sponsor to facilitate coordination within the IEEE delegation. Therefore, if a representative on an
  ASC determines that a project within the committee might be of interest to an unrepresented Society or TC,
  he or she should notify the organization (generally through its IEEE-SA Standards Board liaison
  representative) and furnish requested information. Normally, temporary interest can be handled by an
  existing representative, but if the organization wishes the assignment of a position on the ASC, it should
  make a request to the Secretary of the IEEE-SA Standards Board and submit a nominee.

  7.1.6 Balloting on IEEE standards in an ASC

  When an ASC ballots on an IEEE standard for adoption as an American National Standard, the IEEE
  delegation shall support the adoption of the IEEE standard without change, and vote in the affirmative on
  the ballot. If there are objections to the IEEE standard, the IEEE delegation shall point out that proposed
  changes require prior approval by the proprietary Sponsor. The IEEE delegation provides the liaison
  between the ASC and the IEEE Sponsor to resolve the objections. If resolution results in substantial
  changes, the revision shall be submitted to the IEEE-SA Standards Board for approval as a revision.

  7.2 Category D Liaisons with the International Electrotechnical Commission (IEC)

  7.2.1 Definition of a Category D Liaison

  Category D Liaisons only apply to the International Electrotechnical Commission (IEC).

  The ISO/IEC Directives, Part 1 define Category D Liaisons as organizations that make a technical
  contribution to and participate actively in the work of an IEC working group, maintenance team, or project
  team.

  7.2.2 General Requirements for the Establishment of a Category D Liaison

  The IEEE Technical Committee requesting the Category D Liaison shall be multinational in objectives and
  standards development activities, with individual or entity membership.

  The IEEE Technical Committee shall have a sufficient degree of representation within its defined area of
  competence; within a sector or subsector of the relevant technical or industrial field.

  The IEEE Technical Committee shall be willing to make a contribution, in the form of comments to drafts,
  to the IEC as appropriate.

  In order to be effective, the liaison relationship shall operate in both directions.

  7.2.3 Establishing a Category D Liaison

  The IEEE Technical Committee shall work with appropriate IEEE-SA staff to draft a letter to the Secretary


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  of the relevant IEC Technical Committee/Subcommittee requesting a Category D liaison with a particular
  IEC Technical Committee/Subcommittee Working Group/Maintenance Team/Project Team. The letter shall
  include a rationale for the liaison relationship, as well as an indication of how the IEEE Technical
  Committee meets the general requirements given in Clause 7.2.2.

  Once approval for a Category D Liaison has been granted by the IEC, the request for a Category D Liaison
  shall be forwarded to the IEEE-SA Standards Board for approval.

  7.2.4 Appointment of Category D Liaison Representatives

  Once approval for a Category D Liaison has been granted by the IEEE-SA Standards Board, the IEEE
  Technical Committee holding the liaison relationship shall appoint a representative and notify the
  appropriate IEEE-SA staff with the name and contact information of the representative.

  7.2.5 Participation on an IEC Working Group/Maintenance Team/Project Team

  A Category D Liaison representative has the right to participate as a member of the IEC Technical
  Committee/Subcommittee Working Group, Maintenance Team, or Project Team. This expert acts as the
  official representative of the IEEE Technical Committee from which he or she is appointed.

  7.2.6 Responsibilities of a Category D Liaison

  A Category D Liaison provides coordination and communication between the IEEE and the IEC on matters
  of mutual interest.

  The Category D Liaison is responsible for protecting the intellectual property rights of IEEE standards and
  IEC standards. If the Category D Liaison wishes to introduce an IEEE document to an IEC Working
  Group/Maintenance Team/Project Team, the Category D Liaison shall contact the appropriate IEEE-SA
  staff for assistance.

  The Category D Liaison assists the IEEE and the IEC in identifying possible candidates for submission as
  IEC/IEEE Dual Logo documents.

  The Category D Liaison assists the IEEE in identifying future collaborative work, which may include
  documents that previously were either

      a)   Developed jointly with the IEC, or

      b)   Adopted in part by the IEC, or

      c)   Adopted whole by the IEC.

  The appropriate IEEE-SA staff shall be copied on all correspondence between the Category D Liaison and
  the IEC.

  7.2.7 Annual Reconfirmation of Category D Liaisons

  Every year, the appropriate IEEE-SA staff shall review the Category D Liaison list to verify which
  relationships remain active. The list of active Category D Liaisons shall then be placed on the March IEEE-
  SA Standards Board agenda for reconfirmation.




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  8. Publication

  8.1 Standards

  Upon approval by the IEEE-SA Standards Board, the standard shall be published as an IEEE standard. The
  Sponsor shall be notified of the approval in writing. Balloters with unresolved negative ballot comments
  shall be informed in writing of the approval and of their right to appeal.

  8.1.1 Errata

  An erratum shall be prepared when an editorial error is found in an approved IEEE standard that represents
  a deviation from the standard as approved by the IEEE-SA Standards Board and that could result in
  misinterpretation of the standard. The date of the erratum and a statement that the erratum represents an
  editorial correction only shall appear.

  8.1.2 Amendments and corrigenda

  Amendments and corrigenda are independent projects and are processed with separate PARs and balloted
  independently in accordance with the requirements of these procedures, including submission to the IEEE-
  SA Standards Board. A corrigendum may not extend the scope of the existing standard. An amendment may
  extend the scope of the existing standard, but if the proposed scope of the amendment PAR or the changes
  made in the draft amendment are found to be excessive by the IEEE-SA Standards Board, the Sponsor shall
  initiate a revision PAR to replace the amendment PAR.

  All PARs for amendments and corrigenda shall include a project scope.

  All amendments and corrigenda shall follow the style conventions for indicating changes defined in the
  IEEE Standards Style Manual (see clause 21 and annex C of that document).

  Sponsor ballots of amendments and corrigenda shall also include access to the approved base standard and
  any approved amendments and corrigenda in order to provide sufficient information to the ballot group.

  Up to three amendments can be approved before the standard shall be revised, unless the base standard has
  been approved within the past three years. In such a case, multiple amendments may be added until the base
  standard is three years old. After the three-year period, RevCom shall defer consideration of additional
  amendments or corrigenda until a revision or a two-year extension request is approved by the IEEE-SA
  Standards Board.

  If, for any extenuating circumstances, an exception to these rules is required, the Sponsor shall take its
  request for a two-year extension to RevCom. A project plan outlining the rationale for the request, as well as
  a schedule for the revision, also shall be submitted. RevCom will review the request and make a
  recommendation to the IEEE-SA Standards Board.

  During the two-year extension period, Sponsors can submit additional amendments and corrigenda for
  approval consideration. However, after this period, RevCom shall defer consideration of additional
  amendments or corrigenda until a revision is approved by the IEEE-SA Standards Board.

  8.1.3 Normative annexes

  Normative annexes are official parts of the standard that are placed after the body of the standard for reasons
  of convenience or to create a hierarchical distinction. They are official (substantive) parts of the standard. A




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  normative annex shall be referred to as such (Annex A, Annex B, etc.) in its title, the table of contents, and
  the text.

  8.1.4 Informative annexes

  Informative annex texts shall be submitted with the proposed standard.

  Informative annexes are included in a standard for information only and are not normative (substantive)
  parts of the standard. Standards writers should carefully consider the nature of material placed in
  informative annexes. The working group should also understand that informative annex material is
  considered part of the balloted document and, as such, shall be submitted to the IEEE-SA Standards Board
  for approval.

  8.2 Publication of drafts

  Drafts of standards under development are normally distributed to members of the group involved in their
  generation (working group, subcommittee, etc.) for comment and letter ballot. The normal method for
  generating valid comments is to conduct a letter ballot of the working group or subcommittee.

  All drafts, no matter how broad their circulation, shall be marked on the cover and elsewhere with the
  appropriate copyright and legal statements as defined in Clause 6.

  When using the approved IEEE standards designation on a draft standard, the designation shall be
  structured, at a minimum, as “IEEE Pxxx/DXX,” where “xxx” represents the specific designation and “XX”
  represents the specific draft version of that document. The date of the draft shall also be included. Any
  additional information (such as the draft chapters) may be included at the discretion of the working group.
  The draft designation shall appear on each page of the draft in the same location for the sake of continuity
  (for example, the upper right corner, the bottom right corner, etc.).

  In projects of broad interest, it is sometimes useful to collect a broader spectrum of comments than that
  available within the working entity involved in the development of the draft. Although the practice is
  deprecated by the IEEE-SA Standards Board, a small number of IEEE committees publish such drafts for
  distribution either as separate documents or in Society Transactions. Publication, including electronic, hard
  copy, or other forms of distribution, shall be carefully controlled to avoid misunderstandings regarding the
  status of and legal responsibility for such documents (N.B. these documents must not be mistakenly
  regarded as IEEE standards). The following conditions shall be met for such publication:

      a)   The document shall be marked according to Clause 6.

      b)   The draft can be authorized for publication only by the IEEE Standards Department. Committees
           wishing to have their drafts published and distributed shall have their Sponsor contact the IEEE
           Standards Department.

  A preferred alternative to this procedure is to process the document as a trial-use standard (see 5.7).




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  9. Review of IEEE standards

  9.1 Revision

  The Sponsor should initiate revision of a standard whenever any of the material in the standard (including
  all amendments, corrigenda, etc.) becomes obsolete or incorrect, or if three or more amendments to a base
  standard exist three years after its approval. The Sponsor may initiate revision of a standard when new
  material becomes available and normal evaluation of need and feasibility indicates revision is warranted.
  The procedure for revising a standard is the same as for developing a new standard. A revision shall
  encompass the cumulative scope of the project (including all approved amendments and corrigenda).

  In a revision, balloters may register objections to any part of the standard, as the revision process opens the
  entire document to comment. (The amendment process shall be used when new material and possibly
  corrections of a limited scope are proposed.)

  The draft revision document submitted to the IEEE-SA Standards Board shall be a complete version of the
  revised document. A complete document shall include both the changed and the unchanged text, with
  balloted changes incorporated into the document.

  When a standard is revised, its approved amendments and corrigenda shall be removed from active status as
  separate documents. Existing amendments and corrigenda shall either be integrated into the base document
  or eliminated as indicated in the PAR or determined by the Sponsor balloting process.

  9.1.1 American National Standards

  For those IEEE Standards that are also American National Standards, the Sponsor should initiate a revision
  prior to the standard’s fifth anniversary of approval as an American National Standard (ANS) in order to
  keep the standard from being withdrawn by ANSI. If this does not occur, the Sponsor can provide a
  rationale for extension to the RevCom Administrator, who will communicate the request to ANSI. The
  request for an extension of time shall be submitted to ANSI prior to the thirtieth day following the fifth
  anniversary of approval as an ANS. A request for extension shall provide the schedule of work that will lead
  to revision.

  9.2 Removal from active status

  Standards that are no longer useful or contain significant obsolete or erroneous information should be
  recommended for withdrawal from active status by the Sponsor. A recommendation for withdrawal from
  active status shall be supported by a ballot by the Sponsor (see 5.4) with a 50% return and at least a 75%
  approval.

  Every IEEE Standard shall be subject to transfer to inactive status by the IEEE-SA Standards Board at the
  end of the calendar year that is ten years past its approval date (i.e., the standard will be labeled Inactive and
  reserved for historical reference).

  A standard remains active until it is officially transferred to inactive status by the IEEE-SA Standards
  Board. When a standard is transferred to inactive status, its amendments and corrigenda are also transferred
  to inactive status.




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  10. Maintenance and modification of the IEEE-SA Standards Board
  Operations Manual

  Proposed modifications to this manual may be submitted to the Secretary of the IEEE-SA Standards Board
  by members of the IEEE-SA Standards Board and any of its committees. This manual will be maintained by
  the IEEE Standards Department Staff, reviewed by ProCom, and approved by the IEEE-SA Standards
  Board.

  This document shall be reviewed by legal counsel.

  10.1 Interpretations of the IEEE-SA Standards Board Operations Manual

  Requests for interpretations of this document shall be directed to the IEEE-SA Standards Board. The
  Secretary of the IEEE-SA Standards Board shall respond to the request within 30 days of receipt. Such
  response shall indicate either an interpretation or a specified time limit when such an interpretation will be
  forthcoming. The time limit shall be no longer than is reasonable to allow consideration of and
  recommendations on the issue by, for example, the Procedures Committee of the IEEE-SA Standards Board.




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                           EXHIBIT 23




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                                                                        August	  5,	  2011	  
	  
Association	  for	  Competitive	  Technology	  
1401	  K	  Street,	  N.W.	  
Suite	  502	  
Washington,	  D.C.	  20005	  
	  
Federal	  Trade	  Commission/Office	  of	  the	  Secretary	  
600	  Pennsylvania	  Avenue,	  N.W.	  
Room	  H–135	  (Annex	  X)	  
Washington,	  DC	  20580	  
	  
Re:	  	  Patent	  Standards	  Workshop,	  Project	  No.	  P11–1204	  
	  
Dear	  Commissioners:	  
	  
I	  write	  today	  on	  behalf	  of	  the	  Association	  for	  Competitive	  Technology	  (“ACT”).	  	  ACT	  appreciates	  the	  
opportunity	  to	  respond	  to	  the	  Federal	  Trade	  Commission’s	  Request	  for	  Comments	  and	  Announcement	  
of	  Workshop	  on	  Standard-­‐Setting	  Issues.	  	  ACT	  is	  the	  only	  U.S.	  organization	  focused	  on	  the	  needs	  of	  small	  
business	  innovators.	  	  ACT	  advocates	  for	  an	  environment	  that	  inspires	  and	  rewards	  innovation,	  and	  helps	  
its	  members	  leverage	  their	  intellectual	  assets	  to	  raise	  capital,	  create	  jobs,	  and	  continue	  innovating.	  	  ACT	  
represents	  nearly	  3,000	  software	  developers,	  systems	  integrators,	  information	  technology	  (“IT”)	  
consulting	  and	  training	  firms,	  and	  e-­‐businesses	  from	  across	  the	  country.	  	  
	  
Intellectual	  property	  rights	  are	  critical	  to	  all	  innovative	  businesses,	  but	  they	  tend	  to	  be	  particularly	  
important	  to	  smaller	  entities.	  ACT	  thus	  welcomes	  the	  opportunity	  to	  comment	  on	  the	  FTC’s	  Patent	  
Standards	  Workshop.	  
	  
Introduction	  
ACT	  was	  started	  by	  a	  small	  group	  of	  IT	  entrepreneurs	  with	  the	  objective	  of	  having	  their	  interests	  
represented	  in	  government.	  	  ACT	  is	  primarily	  made	  up	  of	  small	  business	  innovators	  (“SBIs”).	  	  These	  SBIs	  
largely	  have	  the	  same	  interests	  with	  respect	  to	  governments	  and	  regulators:	  access,	  flexibility,	  and	  
consistency.	  	  One	  of	  ACT’s	  core	  principles	  is	  a	  consistent,	  predictable	  regulatory	  framework	  that	  
provides	  SBIs	  flexibility	  in	  business	  models.	  	  Even	  when	  competing	  against	  other	  IT	  companies	  in	  the	  
same	  market,	  IT	  companies	  often	  rely	  a	  diverse	  array	  of	  business	  models—conduct	  that	  exclusive	  rights	  
are	  intended	  to	  facilitate.1	  	  Currently,	  there	  are	  four	  primary	  business	  models	  for	  software	  distribution	  
and	  services:	  license	  software	  or	  sell	  subscriptions	  for	  software	  use,	  give	  away	  software	  to	  help	  sell	  
hardware,	  give	  away	  software	  to	  generate	  service	  revenue,	  and	  give	  away	  software	  to	  sell	  
advertisements	  and	  collect	  user	  data.2	  	  Within	  each	  of	  these	  business	  models,	  SBIs	  are	  competing	  with	  



1
  	  JONATHAN	  ZUCK	  &	  BRADEN	  COX,	  ASS’N	  FOR	  COMPETITIVE	  TECH.,	  UNDERSTANDING	  THE	  IT	  LOBBY:	  AN	  INSIDER’S	  
GUIDE	  2	  (2008),	  available	  at	  http://actonline.org/publications/files/rcpg61911proof.pdf.	  
2
  	  Id.	  at	  6.	  



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larger	  diversified	  entities.	  	  Larger	  diversified	  entities	  compete	  using	  more	  than	  one	  of	  these	  business	  
models.	  	  	  
	  
For	  example,	  a	  larger	  diversified	  entity	  may	  perform	  research	  and	  development	  that	  enables	  it	  to	  patent	  
a	  particular	  technology.	  	  This	  entity	  may	  then	  implement	  the	  patented	  technology	  in	  a	  product	  that	  it	  
designs,	  manufactures,	  and	  licenses	  or	  sells	  to	  consumers.	  	  Because	  the	  entity	  owns	  the	  patents	  
necessary	  to	  make,	  use,	  and	  sell	  the	  technology,	  it	  may	  prohibit	  others	  from	  practicing	  that	  technology	  
or	  may	  license	  the	  technology	  out	  to	  others.	  	  These	  entities	  have	  research-­‐and-­‐development	  budgets	  
and	  legal	  budgets	  that	  dwarf	  similar	  budgets	  at	  SBIs.	  	  	  
	  
But	  many	  studies	  show	  that	  SBIs	  are	  often	  very	  effective	  innovators.	  Consequently,	  many	  SBIs	  are	  also	  
patent	  owners;	  and	  in	  order	  for	  these	  SBIs	  to	  compete	  effectively	  with	  larger	  diversified	  entities,	  any	  
patents	  they	  own	  must	  be	  protected.	  	  Standards	  can	  be	  a	  driver	  of	  innovation	  as	  they	  allow	  competing	  
products	  and	  services	  to	  offered	  by	  many	  companies,	  including	  SBIs,	  to	  interoperate	  within	  a	  technology	  
sector.	  	  In	  the	  Information	  and	  Communication	  Technology	  (“ICT”)	  sector,	  standards	  necessarily	  evolve	  
at	  a	  rapid	  pace.	  	  Though	  some	  ACT	  members	  may	  be	  directly	  involved	  in	  developing	  these	  standards,	  
others	  hesitate	  to	  participate	  because	  they	  are	  concerned	  that	  active	  participation	  in	  standards’	  
development	  may	  negatively	  affect	  their	  intellectual	  property	  (“IP”)	  rights.	  	  Standard	  setting	  
organizations	  (“SSOs”)	  that	  have	  IP	  policies	  that	  allow	  their	  members	  the	  flexibility	  of	  making	  a	  license	  
commitment	  on	  reasonable	  and	  nondiscriminatory	  terms	  without	  onerous	  disclosure	  policies	  would	  
help	  spur	  more	  SBIs	  to	  participate	  in	  standards’	  development.	  
	  
SBIs	  are	  also	  consumers	  of	  IT	  solutions.	  	  In	  order	  to	  sustain	  any	  of	  the	  four	  IT	  business	  models	  discussed	  
above,	  the	  SBI	  itself	  must	  use	  IT	  solutions.	  	  Many	  of	  these	  IT	  solutions	  implement	  standards.	  	  SSOs	  that	  
have	  IP	  policies	  that	  allow	  their	  members	  the	  flexibility	  of	  making	  a	  license	  commitment	  on	  reasonable	  
and	  nondiscriminatory	  terms	  without	  onerous	  disclosure	  policies	  provide	  the	  structure	  necessary	  to	  
allow	  consumers	  of	  IT	  solutions	  that	  implement	  standards	  access	  to,	  flexibility	  with	  respect	  to,	  and	  
consistency	  of	  these	  IT	  solutions.	  
	  
The	  FTC	  Federal	  Register	  Notice	  discusses	  the	  issue	  of	  a	  patent	  hold-­‐up	  “problem”	  at	  length	  and	  poses	  
many	  questions	  that	  appear	  to	  be	  aimed	  at	  finding	  solutions	  to	  this	  “problem.”	  	  From	  the	  perspective	  of	  
ACT	  members,	  who	  are	  not	  convinced	  that	  there	  is	  a	  wide-­‐spread	  patent	  hold-­‐up	  problem,	  some	  of	  the	  
solutions	  suggested	  by	  the	  questions	  would	  discourage	  risk	  taking	  and	  innovation,	  creating	  a	  less	  
competitive	  environment	  within	  the	  ICT	  sector.	  	  	  
	  
This	  letter	  focuses	  on	  why	  two	  of	  those	  proposed	  solutions	  would	  make	  the	  standards’	  development	  
atmosphere	  more	  hostile	  for	  SBIs.	  	  The	  FTC	  suggests	  that	  ex	  ante	  disclosure	  of	  license	  terms	  will	  inject	  
more	  certainty	  into	  the	  standards’	  development	  process,	  especially	  at	  the	  time	  alternative	  technologies	  
are	  selected	  as	  part	  of	  a	  draft	  standard.	  3	  	  The	  FTC	  also	  suggests	  that	  ex	  ante	  joint	  negotiations	  of	  




3
 	  FTC	  Request	  for	  Comments	  and	  Announcement	  of	  Workshop	  on	  Standard-­‐Setting	  Issues,	  76	  
Fed.	  Reg.	  28036,	  28038	  (May	  13,	  2011)	  (“What	  has	  been	  the	  experience	  of	  those	  SSOs	  that	  

                                                                                                                                                         Page 2 of 5



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licensing	  terms	  may	  also	  reduce	  patent	  hold-­‐up	  “problems.”4	  	  ACT	  members	  would	  oppose	  any	  policy	  
requiring	  mandatory	  ex	  ante	  disclosure	  of	  licensing	  terms	  or	  mandatory	  joint	  negotiations	  of	  licensing	  
terms	  because	  either	  policy	  would	  reduce	  an	  SBI’s	  ability	  to	  negotiate	  flexible	  license	  agreements	  
tailored	  to	  the	  specific	  circumstances	  surrounding	  each	  deal.	  
	  
Mandatory	  Ex	  Ante	  Disclosure	  of	  Licensing	  Terms	  Will	  Discourage	  Participation	  by	  SBIs	  
An	  important	  goal	  of	  an	  SBI	  is	  to	  both	  procure	  and	  protect	  its	  IP.	  	  Many	  SBIs	  expend	  research-­‐and-­‐
development	  funds	  in	  hopes	  of	  patenting	  a	  technology	  that	  may	  eventually	  become	  essential	  to	  the	  
implementation	  of	  a	  particular	  standard.	  	  If	  the	  SBI	  holds	  patents	  that	  contain	  claims	  essential	  to	  a	  
standard	  being	  developed	  under	  a	  mandatory	  ex	  ante	  licensing	  terms	  disclosure	  policy,	  the	  SBI	  
participating	  in	  the	  SSO	  would	  be	  required	  to	  disclose	  and	  commit	  to	  its	  rates	  for	  such	  claims	  and	  most	  
restrictive	  licensing	  terms.5	  	  	  
	  
The	  tendency	  of	  any	  company	  faced	  with	  this	  situation	  would	  likely	  be	  to	  disclose	  a	  rate	  higher	  than	  it	  
would	  eventually	  settle	  on	  in	  order	  to	  give	  it	  room	  to	  negotiate.	  	  The	  unintended	  consequence,	  
however,	  of	  this	  higher-­‐than-­‐acceptable	  rate	  could	  be	  that	  the	  “buyers,”	  the	  prospective	  implementers	  
of	  the	  standard,	  would	  pressure	  the	  SBI	  to	  lower	  its	  rate.	  	  This	  collective	  pressure	  might	  be	  unreasonably	  
coercive,	  especially	  when	  combined	  with	  a	  group	  decision	  to	  exclude	  the	  SBI’s	  patented	  technology	  
from	  the	  standard.	  	  In	  the	  case	  of	  an	  SBI,	  unlike	  a	  larger	  diversified	  entity,	  the	  vast	  majority	  of	  its	  
research-­‐and-­‐development	  efforts	  and	  funding	  may	  be	  almost	  entirely	  limited	  to	  its	  proposed	  
contribution	  to	  the	  standard.	  	  This	  possibility	  of	  coercive	  pressure	  has	  been	  recognized	  by	  the	  
Department	  of	  Justice	  and	  the	  FTC	  as	  a	  competition	  concern.6	  




require	  or	  allow	  ex	  ante	  disclosure	  of	  licensing	  terms?	  How	  frequently	  do	  ex	  ante	  disclosures	  of	  
licensing	  terms	  occur?	  Why	  are	  ex	  ante	  disclosures	  of	  licensing	  terms	  not	  required	  or	  made?”).	  
4
  	  Id.	  (“How	  frequently	  do	  ex	  ante	  multilateral	  negotiations	  of	  licensing	  terms	  occur?	  How	  are	  
such	  negotiations	  conducted?).	  
5
  	  See,	  e.g.,	  Letter	  from	  Thomas	  Barnett,	  Assistant	  Attorney	  Gen.,	  U.S.	  Dep’t	  of	  Justice,	  to	  Robert	  
Skitol,	  Esq.,	  Drinker,	  Biddle	  &	  Reath,	  LLP	  4	  (Oct.	  30,	  2006),	  available	  at	  
http://www.justice.gov/atr/public/busreview/219380.htm	  (“Under	  the	  proposed	  policy,	  each	  
member	  of	  a	  working	  group	  must	  identify	  all	  patents	  or	  patent	  applications	  that	  he	  knows	  
about	  and	  that	  he	  believes	  may	  become	  essential	  to	  the	  implementation	  of	  the	  future	  
standard.	  In	  addition,	  working	  group	  members	  must	  declare	  the	  maximum	  royalty	  rates	  and	  
most	  restrictive	  non-­‐royalty	  terms	  that	  the	  VITA	  member	  company	  he	  or	  she	  represents	  will	  
request	  for	  any	  such	  patent	  claims	  that	  are	  essential	  to	  implement	  the	  eventual	  standard.”).	  
6
  	  See	  U.S.	  DEP’T	  OF	  JUSTICE	  &	  FED.	  TRADE	  COMM’N,	  ANTITRUST	  ENFORCEMENT	  AND	  INTELLECTUAL	  PROPERTY	  
RIGHTS:	  PROMOTING	  INNOVATION	  AND	  COMPETITION	  53	  (2007),	  available	  at	  
http://www.ftc.gov/reports/innovation/P040101PromotingInnovationandCompetitionrpt0704.
pdf	  (“Nonetheless,	  joint	  ex	  ante	  licensing	  negotiations	  may	  raise	  competition	  concerns	  in	  some	  
settings.	  For	  example,	  such	  negotiations	  might	  be	  unreasonable	  if	  there	  were	  no	  viable	  
alternatives	  to	  a	  particular	  patented	  technology	  that	  is	  

                                                                                                                                                      Page 3 of 5



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Mandatory	  Ex	  Ante	  Joint	  Negotiation	  of	  Licensing	  Terms	  Will	  Discourage	  Participation	  by	  SBIs	  
For	  reasons	  similar	  to	  those	  discussed	  above,	  ACT	  would	  oppose	  a	  policy	  of	  mandatory	  joint	  negotiation	  
of	  licensing	  terms.	  	  If	  the	  SBI	  holds	  patents	  that	  contain	  claims	  essential	  to	  a	  standard	  being	  developed	  
under	  a	  policy	  mandating	  ex	  ante	  joint	  negotiation	  of	  licensing	  terms,	  the	  SBI	  participating	  in	  the	  SSO	  
would	  be	  required	  to	  participate	  in	  a	  group	  negotiation,	  possibly	  being	  subject	  to	  unreasonably	  coercive	  
collective	  pressure	  from	  prospective	  implementers.	  	  For	  SBIs	  that	  have	  invested	  heavily	  in	  their	  
proposed	  contributions,	  the	  risk	  that	  this	  collective	  pressure	  during	  joint	  negotiations	  will	  undervalue	  
their	  contributions	  will	  discourage	  their	  participation	  in	  the	  SSO’s	  standards’	  development	  process.	  	  
	  
Neither	  “Solution”	  Takes	  the	  Manner	  in	  Which	  Patents	  are	  Licensed	  into	  Consideration	  
In	  addition	  to	  the	  issues	  discussed	  above,	  neither	  the	  mandatory	  ex	  ante	  disclosure	  of	  licensing	  terms	  
nor	  the	  joint	  negotiation	  of	  licensing	  terms	  takes	  into	  consideration	  the	  types	  of	  licenses	  that	  an	  SBI	  may	  
ultimately	  negotiate	  with	  individual	  implementers	  of	  the	  standard.	  	  These	  could	  include	  cross-­‐licenses;	  
portfolio	  licenses;	  licenses	  that	  include	  other	  types	  of	  terms	  such	  as	  reciprocal	  licensing,	  defensive	  
termination,	  and	  licenses	  for	  related,	  though	  not	  essential,	  technology;	  and	  business	  deals	  in	  general.	  	  
SBIs	  also	  recognize	  that	  many	  larger	  more	  diversified	  companies	  have	  little	  interest	  in	  seeking	  licensees	  
for	  their	  patented	  technology	  and	  would	  prefer	  to	  simply	  sell	  or	  license	  their	  products	  and	  use	  their	  
patents	  defensively	  or	  to	  obtain	  freedom	  to	  operate.	  	  Patent	  policies	  that	  would	  require	  these	  larger	  
companies	  to	  post	  specific	  license	  terms	  and	  negotiate	  joint	  license	  arrangements	  for	  all	  implementers	  
not	  only	  poses	  new	  infringement	  risks	  for	  SBIs	  that	  would	  not	  have	  been	  present	  in	  the	  absence	  of	  such	  
requirements	  but	  also	  increases	  the	  costs	  for	  SBIs	  to	  participate	  and	  implement	  standards.	  	  Both	  
mandatory	  ex	  ante	  disclosure	  of	  licensing	  terms	  and	  joint	  negotiation	  of	  licensing	  terms	  require	  time	  
and	  resources	  of	  an	  SBI	  in	  evaluating	  the	  license	  terms	  and	  participating	  in	  a	  joint	  negotiation	  that	  are	  
better	  spent	  developing	  products	  and	  executing	  its	  business	  plan,	  especially	  where	  the	  ultimate	  business	  




incorporated	  into	  a	  standard,	  the	  IP	  holder’s	  market	  power	  was	  not	  enhanced	  by	  the	  standard,	  
and	  all	  potential	  
licensees	  refuse	  to	  license	  that	  particular	  patented	  technology	  except	  on	  agreed-­‐upon	  licensing	  
terms.	  In	  such	  
circumstances,	  the	  ex	  ante	  negotiation	  among	  potential	  licensees	  does	  not	  preserve	  
competition	  among	  technologies	  
that	  existed	  during	  the	  development	  of	  the	  standard	  but	  may	  instead	  simply	  eliminate	  
competition	  among	  the	  
potential	  licensees	  for	  the	  patented	  technology.”);	  Hill	  B.	  Wellford,	  Council	  to	  the	  Assistant	  
Attorney	  Gen.,	  Antitrust	  Div.,	  U.S.	  Dep’t	  of	  Justice,	  Address	  at	  the	  2d	  Annual	  Seminar	  on	  IT	  
Standardization	  and	  Intellectual	  Property	  China	  Electronics	  Standardization	  Institute:	  Antitrust	  
Issues	  in	  Standard	  Setting	  (Mar.	  29,	  2007),	  available	  at	  
http://www.usdoj.gov/atr/public/speeches/222236.htm	  (“SDO	  buyer-­‐cartel	  behavior	  has	  the	  
real	  potential	  to	  damage	  innovation	  incentives,	  and	  therefore	  is	  properly	  the	  subject	  of	  
antitrust	  scrutiny.”).	  

                                                                                                                                                    Page 4 of 5



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deal,	  if	  any	  is	  needed,	  between	  the	  larger	  company	  and	  the	  SBI	  likely	  will	  not	  arise	  out	  of	  these	  
disclosures	  or	  negotiations.	  
	  
Conclusion	  
For	  all	  of	  these	  reasons,	  ACT	  on	  behalf	  of	  its	  SBI	  members	  urges	  the	  FTC	  to	  affirmatively	  support	  the	  
continued	  flexibility	  of	  relevant	  stakeholders	  to	  define	  the	  patent	  policy	  that	  best	  meets	  their	  needs	  and	  
to	  respect	  the	  continued	  practice	  of	  bilateral	  negotiations	  over	  joint	  negotiations.	  Exclusive	  rights,	  like	  
those	  conferred	  by	  patents,	  are	  designed	  and	  intended	  to	  permit	  entities	  to	  pursue	  a	  wide	  range	  of	  
business	  models,	  and	  the	  models	  that	  prove	  to	  be	  most	  productive	  necessarily	  change	  rapidly	  as	  
technology	  itself	  advances	  and	  evolves.	  Solutions	  that	  would	  tend	  to	  lock	  in	  approaches	  to	  standard	  
setting	  that	  might	  seem	  optimal	  today	  may	  well	  become	  tomorrow’s	  obstacles	  to	  continued	  innovation.	  
	  
Sincerely,	  



                                           	  
Jonathan	  Zuck	  
President	  
	  




                                                                                                                                                  Page 5 of 5



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                           EXHIBIT 24




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June 14, 2011
Federal Trade Commission
Office of the Secretary
Room H-113 (Annex X)
600 Pennsylvania Avenue, N.W.
Washington, DC 20580


Re: Federal Trade Commission Request for Comments and Announcement of Workshop on
Standard-Setting Issues (Patent Standards Workshop, Project No. P11-1204)


To the Federal Trade Commission:


        The Telecommunications Industry Association (TIA) believes that patents are critical to

driving innovation and economic growth, and appreciates the opportunity to respond to your

Request for Comments (RFC) regarding the treatment of patented technology included in

standards and the different ways that SSOs seek to minimize the risk of “patent hold-up”.1



      I.        INTRODUCTION



        TIA represents a large number of information and communications technology (ICT)

companies and organizations in standards, government affairs, and market intelligence. A major

function of TIA is the writing and maintenance of voluntary industry standards and

specifications, as well as the formulation of technical positions for presentation on behalf of the

United States in certain international standards fora. TIA is accredited by ANSI to develop

voluntary industry standards for a wide variety of telecommunications products and sponsors
1
 Request for Comments and Announcement of Workshop on Standard-Setting Issues, 76 Fed. Reg. 28036 (May 13,
2011) (RFC).




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more than 70 standards formulating committees. These committees are made up of over 1,000

volunteer participants, including representatives from manufacturers of telecommunications

equipment, service providers and end-users, including the government.


             The member companies and other stakeholders participating in the efforts of these

    committees and sub-groups have produced more than 3,000 standards and technical papers that

    are used by companies and governments to produce interoperable products around the world.

    TIA also has a Standards and Intellectual Property Policy Committee (SIPC) that is focused on,

    among others, policy issues related to the ICT standardization system on a global basis.2


             TIA is and has been a standards-setting organization (SSO) since its inception in 1988,

    and is one of the largest SSOs accredited by ANSI. TIA's standards development activities

    have both a national and global reach and impact. TIA is one of the founding partners and also

    serves as Secretariat for 3GPP2 (a consortium of five SSOs in the U.S., Japan, Korea, and

    China with more than 65 member companies) which is engaged in drafting future-oriented

    wireless communications standards.3 TIA also is active in the formulation of United States

    positions on technical and policy issues, administering four International Secretariats and 16

    U.S. Technical Advisory Groups (TAGs) to international technical standards committees at the

    International Electrotechnical Commission (IEC), and is the International Secretariat and US

    TAG Administrator for the International Organization for Standardization (ISO) Technical

    Committee (TC) 204 on Intelligent Transportation Systems.




2
    TIA standards are available from IHS Inc. See http://www.ihs.com/.
3
 See 3GPP2, About 3GPP2, available at http://www.3gpp2.org/Public_html/Misc/AboutHome.cfm (last visited
May 26, 2011).

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           TIA’s standards committees create consensus-based voluntary standards for numerous

    facets of the ICT industry, for use by both private sector interests and government, which fall

    within the purview of the RFC.4 Among other things, TIA’s standards committees develop

    protocols and interface standards relating to current U.S. Government technology priorities

    such as Smart Grid,5 health care ICT,6 and emergency communications infrastructure7 in such

    areas as fiber optics, public and private interworking, telecommunications cable infrastructure,

    wireless and mobile communications, multimedia and VoIP access, as well as vehicular

    telematics.


         TIA’s association members and others come to TIA to develop standards that promote

efficiency and interoperability, enhancing industry collaboration to solve market-driven demands

and customer needs.          This enables access to new technologies and markets, helps diffuse

innovative solutions across the industry while maintaining respect for intellectual property rights

and supporting incentives for companies to further invest in related R&D. TIA’s process also

creates opportunities for further competition among differentiated implementations and products,

which provides stimulus for more innovation and choice for customers and users.


4
  TIA publishes an annual report that includes the latest actions taken by each respective TIA engineering committee
toward the development of standards for the advancement of global communications. See TIA, Standards &
Technology Annual Report (September 2010), available at
http://tiaonline.org/standards/about/documents/StarReport_09-10.pdf.
5
 TIA’s TR-50 (Smart Device Communications) is responsible for the development and maintenance of access
agnostic interface standards for the monitoring and bi-directional communication of events and information between
smart devices and other devices, applications or networks. See http://tr50.tiaonline.org.
6
 TIA’s TR-49 (Healthcare ICT) is responsible for development and maintenance of standards for the healthcare ICT
applications which involve medical devices, network infrastructure, applications, and operations support. See
http://tr49.tiaonline.org.
7
  Engineering Committee TR-8 formulates and maintains standards for private radio communications systems and
equipment for both voice and data applications. TR-8 addresses all technical matters for systems and services,
including definitions, interoperability, compatibility, and compliance requirements. The types of systems addressed
by these standards include business and industrial dispatch applications, as well as public safety (such as police,
ambulance and firefighting) applications. See http://tr8.tiaonline.org.

                                                         3

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       II.          THE FTC’S DEFINITION OF “PATENT HOLD-UP”


          TIA is concerned by the use of the term “patent hold-up” by the FTC in the RFC, as well

as the FTC’s apparent presumption that “patent hold-up” is a systemic problem in connection

with standard development. As an initial matter, TIA observes that it is unaware of a uniform

definition of “patent hold-up.” In the RFC, the FTC defines “patent hold-up” as a demand [by a

patent owner] for higher royalties or other more costly licensing terms after the standard is

implemented than could have been obtained before the standard was chosen.8 TIA has never

received any complaints regarding such “patent hold-up” and does not agree that “patent hold-

up” is plaguing the information and telecommunications technology (ICT) standard development

processes.


          TIA believes that the FTC is presuming that “patent hold-up” is a widespread and

fundamental problem, without considering the practical experiences of SSOs such as TIA. TIA’s

members are made up of companies with different business models relative to the

implementation of standards compliant products yet participate in TIA under RAND terms.


             TIA believes that this is because market dynamics drive the patent holder and individual

licensees to a negotiated agreement reflecting a range of licensing terms that both can accept,9

and that such outcomes occur in the vast majority of situations. TIA does not believe that

“patent hold-up” occurs simply when two parties, in negotiating a bi-lateral agreement, disagree




8
    RFC at 28036.
9
  Patent holders have incentives to seek reasonable licensing terms because they benefit from the greater adoption of
the standard. In addition, most implementers who decide that they need to enter into a license typically do not want
a license to just the patent holder’s essential patent claims that read on a standard. The negotiation usually involves
contributions from both sides and broader IPR considerations.

                                                           4

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on licensing terms. Defined too broadly, many instances of innocent and fair activity on the part

of patent holders could be mislabeled as “patent hold-up.”


        TIA urges the FTC to view “patent hold-up” under a much narrower scope that reflects

the realities of standards-related patent licensing as opposed to taking a more theoretical

approach, and to thus limit “patent hold-up” to instances where the holdup is clearly due to

intentional and deceptive conduct supported by substantial and substantive evidence. The FTC

should make clear the distinction between “patent hold-up” and situations where a patent holder

and an accused infringer simply do not agree on licensing terms.10


         Governmental intervention to mandate a generic solution to address presumed “patent

hold-up” is likely to generate more unanticipated negative consequences than the perceived

problem.




10
  See Comments of Michele K. Herman, NIST Request for Information regarding the Effectiveness of Federal
Agency Participation in Standardization in Select Technology Sectors, (Mar. 4, 2011) at 3, available at
http://standards.gov/standards_gov/sos_rfi_docs/26_Herman_DWTLLP.pdf.

                                                      5

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       III.       TIA’S USE OF REASONABLE AND NON-DISCRIMINATORY (RAND)
                  INTELLECTUAL PROPERTY RIGHTS POLICIES



         Market-­‐driven open standards can help promote competition and innovation, and such

standards are developed or ratified through a voluntary, open and consensus-­‐based process.

This process means a SSO typically includes/has an IPR policy pursuant to which patent holders

make commitments to offer licenses to essential patented technology on reasonable and

non-­‐discriminatory (RAND) terms and conditions, with or without compensation.11

         This type of IPR policy addresses implementers’ need to access and use patented

technology included in the standard; at the same time, patent holders preserve their rights in a

way that encourages them to innovate and to contribute their innovative solutions to the

standardization effort. RAND patent policies seek to provide this balance by helping to make

that patented technology available to all on RAND terms and conditions. RAND commitments

can and do prevent IPR holders from making the implementation of a standard difficult by




11
  This is consistent with OMB Circular A-119, which states that voluntary, consensus standards “include provisions
requiring that owners of relevant intellectual property have agreed to make that intellectual property available on a
non-discriminatory, royalty-free or reasonable royalty basis to all interested parties.” OMB Circular A-119.

                                                         6

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refusing to license or by seeking unreasonable or discriminatory fees after the industry has been

locked into the standard.12

         At TIA, the use of the Patent Holder Statement as contained in the TIA Engineering

Manual13 is mandatory for both members and non-members. This policy has been developed by

– and is actively maintained by – TIA’s IPR Standing Committee. Among the Statement’s

central provisions are the following:

                  “On behalf of the above Patent Holder, and being authorized by the Patent Holder

         to make such statements, the following is indicated:

                  With respect to any Essential Patent(s) necessary for the practice of any or all

                  Normative portions of the above Reference Document as it exists on the date of

                  submittal of this form, should such Reference Document be approved as a

                  Standard.




12
   Non-discriminatory does not necessarily mean identical. A RAND license that might be negotiated by a patent
owner and standards implementers may not necessarily reflect exactly the same set of terms and conditions for each
licensee. This is because other considerations (such as reciprocal cross-licensing) may be a factor. See American
National Standards Institute, ANSI GSC-15 Contribution: ANSI Activities Related to IPR and Standards (August
12, 2010) at 10, available at http://bit.ly/lNUXOh. See also Brooks, Roger G. and Geradin, Damien, Taking
 Contracts Seriously: The Meaning of the Voluntary Commitment toLicense Essential Patents on 'Fair and
Reasonable' Terms (March 12, 2010), at 8 available at http://ssrn.com/abstract=1569498 (“Not all standard
implementers seeking to obtain a license from a given essential patent holder will be similarly situated. Generally, a
range of variables will traditionally be negotiated between licensors and licensees, all of which may be of
appreciable value, such as cross-licensing, volume of licensed products, exhaustion of patent rights, technology
transfer, technical support, upfront fees, jurisdiction, scope of license (e.g., products, territory, have made rights,
etc.), possible product purchases, the formation of broader business relationships and cooperation, etc. Granting a
license cannot be confused with selling a product at a standard price (which would be the royalty). Because
licensors and licensees seek to exchange a potentially diverse assortment of ‘value’ (the royalties being just one
possible elements of consideration), any interpretation of a FRAND commitment as ‘dictating or specifying a
particular licensing result’ would prove a “Procrustean bed.”).
13
  TIA’s Engineering Manual provides for its Standards and Technology Department and Engineering Committees’
organization, rules for operation of its Engineering Committees, TIA’s IPR policies, rules for operation of its
Technical Standards Subcommittee, and its legal guidelines. TIA, TIA Engineering Manual (Oct. 2009) available at
http://www.tiaonline.org/standards/procedures/manuals/engineering.cfm.

                                                           7

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                   “The undersigned Patent Holder states one of the following:

            a) A license under any Essential Patent(s), the license rights to which are held by the

               undersigned Patent Holder, will be made available to all applicants under terms and

               conditions that are reasonable and non-discriminatory, without monetary

               compensation, and only to the extent necessary for the practice of any or all of the

               Normative portions of the above Reference Document for the field of use of practice

               of the Standard; OR

            b) A license under any Essential Patent(s), the license rights to which are held by the

               undersigned Patent Holder, will be made available to all applicants under terms and

               conditions that are reasonable and non-discriminatory, which may include monetary

               compensation, and only to the extent necessary for the practice of any or all of the

               Normative portions of the above Reference Document for the field of use of practice

               of the Standard.



                   “Either Paragraph (a) or (b), whichever is selected above, may be modified below

            by marking one or both of the following:

       i.      The commitment to license above selected will be made available only on a

               reciprocal basis. The term “reciprocal” means that the licensee is willing to license

               the licensor in compliance with either Paragraph (2a) or (2b) above as respects the

               practice of the above Reference Document.

      ii.      The undersigned Patent Holder hereby limits its commitment to license under either

               Paragraph (2a) or (2b) above to the Essential Patent(s) identified by issuance and

               filing dates and numbers on Exhibit “A” attached hereto, and represents that Exhibit



                                                     8

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           “A” contains all the undersigned’s known licensable Essential Patent(s) rights, as of

           the date stated below, only to the extent necessary for the practice of any or all of the

           Normative portions of the above Reference Document. The undersigned Patent

           Holder undertakes to advise TIA of any licensable Essential Patent(s) rights of the

           undersigned which become known to the undersigned after this date and to notify

           TIA whether a license will be made available with respect thereto in accordance with

           the TIA IPR Policy. Nothing in this statement requires the undersigned Patent Holder

           to make a patent search.



               “The statements contained in Paragraphs (2a) or (2b), if marked, along with any

       modifications selected above are irrevocable and shall be binding upon the undersigned.

       In the event the rights of the undersigned in and to the Essential Patent(s) subject to such

       commitments are assigned or transferred, the undersigned shall notify the assignee or

       transferee of the existence of such commitments.”




       Based on lengthy experience in developing standards and knowledge of standards and

patent policies globally, TIA has concluded that successful international standardization policies

are marked by certain general characteristics. While this is not an exhaustive list, these patent

policies: 1) apply to those directly participating in the technical standardization, 2) balance the

interests of all stakeholders, 3) permit patent holders to obtain a Reasonable and Non-

Discriminatory (RAND) (also sometime referred to as FRAND [Fair, Reasonable and Non-

Discriminatory]) return on their innovation, 4) encourage bilateral negotiation of licensing terms




                                                 9

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between licensor and licensee outside of the standardization process;14 and, 5) provide for

reciprocity when a license is offered to a licensee.

        In addition, TIA does not believe there is a need to define RAND. RAND has been

adopted by standards organizations as a flexible approach to the inclusion of patented intellectual

property in consensus-based standards. The RAND framework has enabled industry participants

to bilaterally negotiate effective license agreements that meet the specific needs of each licensee

and licensor.

        Further, the treatment of IPR is “especially important and delicate.”15 Also, as the United

States Government reported through a recent USPTO presentation to WIPO, there are more than

16,455 approved international standards, with about 1,800 more in the pipeline, and many

thousands more adopted by informal industry associations, consortia and interest groups.16 Most

standards appear to function well, and in this regard, there have been very few disputes -

particularly disputes resulting in litigation.17             This suggests that the RAND framework is

working and effective. Not only has RAND been proven to work, the fact that it is the most

common model used across SSOs makes it easier for standards to be exchanged from one SSO to

another. Changes to the current RAND framework, regardless of how well intentioned, could

easily disrupt this framework and the flexibility and balance that has been achieved among the



14
  See, e.g., Mark A. Lemley, Intellectual Property Rights and Standard-Setting Organizations, 90 CAL. L. REV.
1889, 1906 (2002).
15
  See, e.g., European Union, Modernising ICT Standardisation in the EU - The Way Forward (Mar. 7, 2009),
available at http://ec.europa.eu/enterprise/policies/european-standards/files/ict/policy/standards/whitepaper_en.pdf.
16
  Statement of United States Patent and Trademark Office at meeting of World Intellectual Property Organization
(WIPO), Standing Committee on the Law of Patents (March 25, 2009). See
http://www.ansi.org/news_publications/news_story.aspx?menuid=7&articleid=2166.
17
    TIA is not aware of any current patent-related litigation that is focused exclusively on proffered licensing terms
for the essential claims reading on a standard. The few standards-related disputes that do exist typically reflect a bi-
lateral dispute between two companies and include a number of additional IPR and commercial issues.

                                                          10

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various stakeholders.         Such imbalance could in turn result in unforeseen and unintended

consequences. 18




     IV.          TIA SUPPORTS THE VOLUNTARY EX ANTE DISCLOSURE OF
                  LICENSING TERMS



         TIA believes that mandating the ex ante disclosure of specific licensing terms within such

standards bodies would have a chilling effect on participation, contributions and the resulting

standards. Moreover, standards bodies and their constituents are in the best position to craft their

own IPR policies to address their particular circumstances. While TIA does not require ex ante

disclosure of licensing terms, TIA does not object if a TIA participant wishes to voluntarily

disclose its terms. Moreover, licensing negotiations are between the licensee and licensor and

are to be conducted outside of the TIA standardization process. Ex ante disclosure of one set of

terms and conditions fails to recognize the diversity in standards, licensing arrangements, and

business interactions.       RAND based policies, however, recognize this diversity. For these

reasons, and based on the lack of complaints of a “patent hold-up” throughout TIA’s history,

TIA believes that RAND licensing commitments can and do provide adequate protection against

“patent hold-up.”




18
   This can include disincentives for patent holders to contribute their innovative technology to standardization
activities, and also possibly encourage other countries to develop standards-related IPR policies that arguably seek
to make foreign-held IPR available for free or at a very low cost.

                                                         11

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      V.      CONCLUSION



  In summary, TIA believes:

           a. It is critical that ICT standardization be predicated upon policies that encourage

              the contribution of innovative and high-performance technologies to

              standardization efforts. These technologies often have proprietary intellectual

              property associated with them.

           b. Including such high-performance technologies in standards creates economic

              efficiencies in downstream product and service markets which often exceed any

              cost of licensing the technologies.

           c. By enabling innovators to obtain a reasonable return on their investment in

              research and development, the RAND framework encourages innovators to

              contribute technology for possible standardization and to re-invest in further

              research and development while balancing the needs of implementers to access

              the technology.




                                               12

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       TIA appreciates consideration of the above policies, commends the FTC for recognizing

the vital role that standardization activities play in innovation, and values the opportunity to

provide input in response to the Request for Information.




                                               Respectfully submitted,

                                               TELECOMMUNICATIONS INDUSTRY ASSOCIATION



                                               By:    ____________________

                                                      Danielle Coffey
                                                      Vice President, Government Affairs

                                                      Brian Scarpelli
                                                      Manager, Government Affairs

                                                      Its Attorneys

June 14, 2011




                                                 13

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                           EXHIBIT 25




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  iiil Davis \{Vright
  II•• Tremaine                   LLP
                                                                           Suite 2200
                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           Michele Herman
                                                                           206.757.8203 tel
                                                                           206.757.7700 fax

                                                                           micheleherman@dwt.com




June 14,2011


Federal Trade Commission
Office of the Secretary, Room H-l13 (Annex X)
600 Pennsylvania Avenue, NW
Washington, DC 20580

Re: Patent Standards Workshop, Project No. Pll-1204 (76 Fed. Reg. 28036)


Dear Commissioners:
I appreciate this opportunity to respond to the Federal Trade Commission ("FTC") Request for
Comments and Announcement of Workshop on Standard-Setting Issues dated May 13,2011
("RFC"). I am writing to urge the FTC to first consider what constitutes "patent hold-up" in the
standards context for the purposes of the upcoming workshop before delving into (i) how
standards setting organization ("SSO") patent policies should be crafted to avoid patent hold-up,
and (ii) how reasonable and non-discriminatory ("RAND") patent license commitments should
be interpreted and enforced against standards participants that have undertaken such
commitments. Legal practitioners, academia, and business communities have proffered various
definitions of patent hold-up based on differing scenarios involving patentee and implementer
conduct, as well as the impact that patented technology may have on competition and consumers
when incorporated into a standard. In order to obtain a meaningful outcome from the workshop,
the definition of patent hold-up should be sufficiently narrow so that pro-competitive conduct
that tends to drive innovation is not unintentionally curbed. In my view, the workshop should
focus on those scenarios (i) that have resulted in actual harm to competition or consumers, and
(ii) where there has been deceptive conduct that has subverted the standards process.

I am a partner with Davis Wright Tremaine LLP and I represent a number of SSOs as well as
clients who participate as members in SSOs in connection with the development of technical
standards. I am a patent attorney whose practice has focused on standards setting issues for more
than a dozen years. I am also an adjunct professor at Seattle University School of Law where I
teach a class on industry standards and open source software. I have held or currently hold
leadership positions in standards committees in the American Bar Association, American
Intellectual Property Law Association, and the Intellectual Property Owners Association. My
comment offers background based on my personal observations and experience representing
numerous clients in matters that involve patents and standards, and in particular, standards­
related patent licensing issues.

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I.       Patented Technology Should Be Incorporated into Standards As a Way to Drive
         Innovation, Competition, and Economic Development

At the outset, I would like to highlight that the RFC does not mention the importance of patented
technology to innovation, competition, and economic development in general. 1 Instead, the RFC
starts from the premise that patents may hold up adoption of new technology, thereby harming
competition and consumers. While it is possible that patents could hold up the adoption of new
technology, such a view seems contrary to the views the United States has taken in the past?
Perhaps David J. Kappos, Under Secretary of Commerce for Intellectual Property and Director
of the U.S. Patent and Trademark Office stated it best:

         Innovation continues to be a principal driver of economic growth and job creation in the
         United States, and intellectual property (IP) delivers that innovation to the marketplace.
         We at the USPTO are proud of the role we play in serving America's innovators, and
         granting the patents and registering the trademarks they need to secure investment
         capital, build companies, and bring new products and services to the marketplace. The
         work we do at the USPTO directly contributes to strengthening our economy and creating
         jobs and helps move us toward the President's goal of winning the future by out­
         innovating our competitors. 3

If patents help drive innovation, job creation, and so many other benefits generally, there is little
reason to assume that patented technology incorporated into standards will have a contrary
effect. Over the past decade or two, we have seen unprecedented growth in the information and
communications technology ("ICT") industry. Much of this growth was brought about by ICT
standards, many of which incorporate patented technology. Such ICT standards are adopted in


1 The RFC, however, does mention the importance of standards in promoting innovation: "[c ]ollaborative standard
setting plays an important role in the modern economy" and "[i]t can lead to innovation, better products and more
competition." FTC Request for Comments and Announcement of Workshop on Standard-Setting Issues, 76 Fed.
Reg. 28036, 28036 (May 13,2011).
2 See, e.g., President Barack Obama, Remarks by the President to the Chamber of Commerce at the U.S. Chamber of
Commerce Headquarters, Wash. D.C. (Feb. 7,2011) ("We're reforming our patent system so innovations can move
more quickly to market."), available at http://www.whitehouse.gov/the-press-office/20lIl02/07/remarks-president­
chamber-commerce; The White House, A Strategy for American Innovation: Securing Our Economic Growth and
Prosperity, App. B, http://www.whitehouse.gov/innovation/strategy/appendix-b (last visited June 13,2011)
("Timely prosecuted, high-quality patents drive innovation and protect creativity.").
3 Budget Hearing - Patent and Trademark Office - Under Secretary o/Commerce/or Intellectual Property Be/ore
the H. Subcomm. on Commerce, Justice, Science, and Related Agencies, Comm. on Appropriations, 1 12th
Congo (Mar. 2,2011) (statement of David 1. Kappos, Under Secretary of Commerce for Intellectual Property and
Director ofthe U.S. Patent & Trademark Office), available at
http://www.uspto.gov/news/speeches/20 lIlkappos_house_20 l2budget.j sp.

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the marketplace and subsequently replaced with new ICT standards at staggering rates. 4 With
more and more products and services being based on an ever-growing number of ICT standards,
it is not surprising that there is a heightened focus on patent litigation involving standardized
technology. Such litigation, however, should not cause us to develop policies that would
discourage the use of patented technology in standards where, as here, we have significant
market evidence that standards that incorporate patented technology have generated
unprecedented innovation, numbers of new businesses and jobs, and economic growth consistent
with U.S. Government objectives. 5

In my view, the workshop inquiries should start with the assumption that patented technology
incorporated in standards has been driving innovation not that patented technology in standards
leads to patent hold-up.

II.      Neither SSO Patent Policies nor RAND Enforcement Policies Should Be Established
         to Address Overly Broad Notions of Patent Hold-up

The RFC sets out an array of questions pertaining to the potential patent hold-up of
collaboratively developed standards, specifically asking which SSO policies and enforcement
regimes could help to prevent hold-up. Before these questions may be answered, however, there
should be a common understanding of the term "patent hold-up" and which specific scenarios of
patentee and implementer conduct we are trying to address. As discussed above, we should also
begin any discussion by first acknowledging that, in general, patented technology will help drive
innovation and competition irrespective of whether or not it has been incorporated into a
standard.

Some may view the inclusion of any patented technology in a standard as patent hold-up simply
because an implementer may need to license the patented technology. 6 Others may consider the

4 Consider the wireless evolution starting with lG (e.g., TACS, TDMA, etc.), evolving to 2G (e.g., GSM, CDMA,
etc.), then to 2.5G (e.g., GPRS, EDGE, etc.), then to 3G (e.g., E-EDGE, UMTS, EVOD, etc.), then to 3.5G (e.g.,
HSDPA, 802.16d, etc.), and finally to 4G (e.g., LTE, 802.l6e, etc.).
5 According to the Telecommunications Industry Association ("TIA"), global telecommunications spending
amounted to $4.1 trillion in 2010, up from $2.7 trillion in 2004. Spending is predicted to reach $5.3 trillion in 2014.
TIA, Preview-20ll ICT Market Review & Forecast, Chapter 4: The Wireless Market,
http://www.tiaonline.org/markeUntelligence/mrf/index_MRF_page_l.cfm (last visited June 13,2011).
6 SSO participants often simply opt for technology for which they are unaware of essential patent claims over
technology for which they are aware of essential patent claims, even if those claims will be licensed freely. Many
incorrectly believe that there will be no need to take licenses if no patents are disclosed or that licenses will be
required when patents are disclosed. See, e.g., Posting of Brian Kahin to opensource.com Law Blog,
http://opensource.com/law/lllllopen-standards-and-royaity-problem (Jan. 20, 2011) ("what most implementers and
other users care about is not having to pay royalties or ask for permission").

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inclusion of patented technology in a standard as constituting patent hold-up only when the
patented technology is not licensed on a RAND basis. This may occur, for example, when a
third party owns essential patent claims, has no commitment to license, and admittedly refuses to
do so on RAND terms. 7 Still others focus on the specific results of including patented
technology in a standard when defining patent hold-up; namely, does such inclusion harm
competition or consumers?8 For example, in theory, if patented technology can extract a higher
royalty because it is included in a standard, will that higher rOlalty harm competition or
consumers to such a degree that it constitutes patent hold-up? In this example, some have
argued that any ability to charge higher royalties regardless of actual effects constitutes patent
hold-up while others have argued that there must be evidence that charging higher royalties has
harmed competition, not just particular competitors in the context of a commercial dispute, or
consumers who must pay more with fewer choices. 10 Finally, some focus ori both the effects and
the conduct of the parties involved. I I In other words, patent hold-up occurs if the patentee has (i)
failed to abide by the relevant SSO patent policy, (ii) intentionally deceived the SSO participants,
and (iii) in doing so, harmed competition and/or consumers because the patentee is able to
extract higher royalties after "lock in" as.a result of its patented technology being incorporated
into the standard.

The RFC defines "patent hold-up" as "a demand for higher royalties or other more costly
licensing terms after the standard is implemented than could have been obtained before the


7 See, e.g., Carl Shapiro, Navigating the Patent Thicket: Cross Licenses, Patent Pools, and Standard-Setting, in 1
INNOVATION POLICY AND THE ECONOMY 119, 136 (Adam B. Jaffe et al. eds., 2001), available at
http://www.nber.org/books/jaffOl-l ("Blocking patents are especially common in the context of standard setting:
once a standard is picked, any patents (or copyrights) necessary to comply with that standard become truly essential.
If the standard becomes popular, each such patent can confer significant market power on its owner, and the
standard itselfis subject to holdup ifthese patent holders are not somehow obligated to license their patents on
reasonable terms.") (emphasis added).
8 See, e.g., Joseph Farrell et aI., Standard Setting, Patents, and Holdup, 74 ANTITRUST L.J. 603,645 (2007) ("when a
standard used in a fairly competitive industry is subject to uniform hold-up, direct buyers may bear little of the cost,
which falls primarily on final consumers") (emphasis in original).
9 See, e.g., Mark A. Lemley & Carl Shapiro, Symposium: Frontiers ofIntellectual Property: Patent Holdup and
Royalty Stacking, 85 TEX. L. REV. 1991, 1993 (2007) ("Such royalty overcharges act as a tax on new products
incorporating the patented technology, thereby impeding rather than promoting innovation.").
10 See, e.g., Michele K. Herman, Negotiating Standards-Related Patent Licenses: How the Deal is Done, Part I,
LANDSLIDE, Sept.-Oct. 2010, at 36, available at http://www.dwt.com/portalresource/03­
II_Herman_Landslide_part l.pdf.
II See, e.g., Joseph Farrell et aI., Standard Setting, Patents, and Hold-up, 74 ANTITRUST LJ. 603, 604 (2007)
("'Bad' behavior (such as deception) is not logically necessary for such inefficiency, but hold-up can powerfully
reward deception and concealment. Emphasizing how parties may inefficiently seek hold-up power, Oliver
Williamson famously described opportunism as 'self-interest seeking with gUile. "').

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standard was chosen,,12 because the patentee can "demand a royalty that reflects not only the ex
ante market value of the patented invention, but also added value associated with changes in the
marketplace and investments made to implement the standard.,,13 I do not believe this is the best
definition to use as the basis for the questions posed in the RFC. The definition of patent hold­
up, in my view, should not be based exclusively on whether a patentee may charge a higher rate
ex post (i.e., after the standard is adopted) for its patented technology than it could have charged
ex ante (i.e., before the standard is adopted). Instead, the definition of patent hold-up should
require either actual harm or at least "a dangerous probability,,14 of harm to competition or
consumers.

An intentional failure to disclose essential patent claims on an ex ante basis might present such a
probability of harm to competition or consumers, particularly when such patents are not made
available for licensing on RAND terms. Even if one could establish that the patentee was
charging higher rates, those higher rates might not result in harm to competition or consumers.
For example, the standardized technology might be widely adopted resulting in a plethora of new
product and service choices for consumers offered by numerous competitors. Indeed, there is
overwhelming evidence in the marketplace, as discussed above, that ICT standards that
incorporate patented technology are promoting competition, driving innovation, and creating
more consumer choices than ever before. Further, commercial disputes that may result in harm
to a competitor should not be viewed as harm to competition itself, especially given substantial
market evidence to the contrary. 15

The definition of patent hold-up should also take into account the conduct of both the patentee
and the implementer. Because standards-essential patent claims are not licensed in isolation, it is
necessary for parties to negotiate their own bilateral agreements irrespective of whether specific
patents or license terms are disclosed to the SSO ex ante. What an SSO participant "knows"
about potentially essential patent claims at the time it makes technology selections often. depends
on its own actions and risk aversions. If a patentee fails to disclose patents likely to be infringed

12 FTC Request for Comments and Announcement of Workshop on Standard-Setting Issues, 76 Fed. Reg. 28036,
28036 (May 13,2011).
13 ld.

14 The concept of "a dangerous probability" is borrowed from the proof required by the plaintiff for an attempted
monopolization claim under § 2 of the Sherman Act, which is: "(1) that the defendant has engaged in predatory or
anticompetitive conduct with (2) a specific intent to monopolize and (3) a dangerous probability of achieving
monopoly power." Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993). To prove a dangerous probability
of monopolization in an attempt case "requires inquiry into the relevant product and geographic market and the
defendant's economic power in that market." Spectrum Sports, 506 U.S. at 459.
15 Letter from Michele Herman, Davis Wright Tremaine LLP, to Dr. Patrick Gallagher, Co-Chair, Sub-Comm. on
Standards, Nat'l Sci. and Tech. Council, Dir., NIST 3-4 (Mar. 4, 2011), available at
http://standards.gov/standards_gov/sosJfi_docs/26_Herman_ DWTLLP.pdf.

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by implementations of the standard, a participant has no reason to approach the patentee to assess
whether the two parties might be able to negotiate mutually agreeable licensing terms on a
bilateral basis. In this case, the patentee's conduct may be a relevant factor in determining
whether or not the patents are being used to hold up implementers. If the patentee does disclose
that it owns patents likely to be infringed by implementations of the standard and a participant
chooses not to seek an ex ante license, a subsequent dispute over license terms would not be due
to a deceptive manipulation of the process by the patentee. Such situations represent mere
commercial disputes rather than patent hold-up.

SSO patent policies should be defined to promote a balanced playing field among all
participants. SSO patent policies should not be defined to protect one class of participants at the
expense of others. Similarly, enforcement of RAND license commitments should also balance
the conduct of both parties if a dispute arises. For these reasons, the goals of the workshop
should not be to suggest that SSO patent policies be defined to prevent all commercial disputes
but rather to prevent patent hold-up that is based on the parties' conduct as well as the resulting
harm to competition or consumers. SSO patent policies and RAND enforcement policies that are
crafted to ensure that any patentee, regardless of the patentee's and implementer's conduct,
cannot charge higher royalty rates ex post, irrespective of the effect those royalty rates would in
fact have on competition or consumers, would unduly penalize those participants that invest in
innovative technology for new standards, and would likely harm innovation, reduce competition,
and diminish the other benefits derived from the inclusion of patented technology in standards.

III.     Increased Transparency or Further Definition with Regard to Patent License Terms
         Is Not Needed nor Would It Be Useful in Preventing Hold-up

Although the RFC defines patent hold-up broadly, focusing solely on the ability of the patentee
to charge higher royalty rates ex post, it also describes the scenario that could, according to the
FTC, harm competition or consumers. In this regard, the RFC appears to presume that
"incomplete" disclosure 16 results in patent hold-up. The RFC explains that hold-up defined in
this way, "can subvert the competitive process of choosing among technologies and undermine
the integrity of standard-setting activities. ,,17 The RFC does not cite to any actual examples
where a different technology would have been selected had the standards developers known that
higher royalties would be charged. The stated harm, however, focuses on a scenario where
standards developers were not aware of the royalties or other onerous license terms at the time
they selected the patented technology to be included in the standard.


16 FTC Request for Comments and Announcement of Workshop on Standard-Setting Issues, 76 Fed. Reg. 28036,
28037 (May 13,2011).
17Id. at 28036.

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The RFC also suggests how consumers might be harmed under this definition of patent hold-up:
"[c]onsumers can be harmed if manufacturers are able to pass on higher costs resulting from
hold-up.,,18 The RFC, however, does not identify any actual situations where consumers have
paid higher prices because a patentee has been able to charge higher prices after having its
patented technology included in the standard. Instead, the RFC seems to adopt the general view
that consumers suffer harm in a scenario in which the standards developers did not know what
royalties would be required when they incorporated the patented technology in the standard.

  It appears then that the RFC is seeking input on how standards developers can determine the cost
  associated with implementing patented technologies at the time the standards developers are
  deciding whether or not to include the patented technology in the relevant standard. And to
  achieve this, the RFC appears to be soliciting information concerning (i) how to promote more
  specific disclosure of patents and license terms ex ante, and (ii)enforcement of what would be
. deemed ex ante terms, had such terms been disclosed.

Irrespective of the definition of patent hold-up, the notion that the disclosure of more licensing
information and/or ex ante RAND licensing terms would in some way enable standards
developers to more effectively choose when to include patented technology in a standard is at
best a theoretical scenario. In practice, there is little use in knowing what a patentee will charge
or what licensing terms will be mandated with respect to the patentee's standards-essential patent
claims. As discussed in the following sections, the value of and terms associated with essential
patent claims are not meaningful in practice because such claims are rarely if ever licensed in
isolation. For a number of business and other practical reasons, implementers generally do not
negotiate ex ante licenses for the purpose of making such choices when they have an opportunity
to do so. That said, there is no way to assess whether or not a participant would have made a
different decision concerning the inclusion of patented technology if the participant was unaware
that a patentee had essential patent claims. So, although SSOs should be free to adopt whatever
patent policies meet the needs of their participants given the standards development process,
technology area, and other factors, participants should at least be given an opportunity to
negotiate bilateral ex ante RAND agreements with those patentees that believe they own
essential patent claims. 19 The need for disclosure in this case should not disproportionately

18
     I d.
19 Disclosure of the relevant patentees is less important in a RAND-RF (RAND on royalty-free terms) SSO. When
parties agree to a RAND-RF policy, in practice, they are in effect more interested in implementing the standard and
promoting its widespread use than in generating patent revenue from the standardized technology. Generally,
parties that license their portfolios to generate revenue as a significant part of their business model are reluctant to
join RAND-RF SSOs because (i) they may be asked to carve out certain patent claims from their licenses, which
could result in licensees seeking lower royalty rates for the portfolio package even though many of the patent claims
are not essential; (ii) these carve outs could increase their overhead in that they would have to evaluate the
essentiality of various claims; and (iii) such issues might protract their negotiations. In other words, such patentees
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burden patentees or discourage their participation in the SSO but should be limited to achieve
this narrow objective; namely, ensuring that a participant (who is a prospective implementer)
knows who to approach for ex ante licensing terms if the participant plans to use that information
in making technology selections in the standards development process.

         A.       License Terms for Essential Patent Claims Are Not Useful Because Such
                  Claims Are Not Licensed in Isolation

The RFC questions whether RAND is too uncertain because the details of a license are not
sufficiently defined by a RAND license commitment. Even if the precise terms for each
standards-essential patent claim were disclosed to participants by a patentee at the time the
patentee submitted a contribution to the standard, those terms would have little meaning for most
prospective implementers. ICT products often include dozens if not hundreds of standards and
other technology?O No one producing an ICT product would expect to negotiate a license with a
patentee solely for the patentee's essential patent claims on one standard without also expecting
to need licenses to additional patent claims that cover the ICT product or at least other related
features. Even if an SSO were to define the license terms and conditions for all participant
patentees, products that implement the standardized technology would almost certainly infringe
other non-essential patent claims owned by the participant patentees. Moreover, if the defined
terms and conditions for essential patent claims are royalty-free and unrestricted, the patentees
could pursue licenses for their non-essential patent claims for fees that could offset what they
had agreed to license on royalty-free and unrestricted terms?!

In practice, however, patentees and implementers do not separately license essential patent
claims and non-essential patent claims; they license portfolios that include both, or enter cross­
licenses that include both, or form business relationships that involve transactions that expressly


only join SSOs with mandatory RAND-RF policies in exceptional circumstances when there are compelling
business reasons to do so. In the end, most parties that join an SSO with a RAND-RF policy have no intention of
enforcing essential or non-essential patent claims related to the relevant standard, but consider those patent claims
very important for defensive purposes and for securing freedom to operate, i.e., through cross-licensing. Given
these practical objectives, any patent disclosure requirements may seem overly burdensome to participants joining
RAND-RF SSOs.
20 Brad Biddle, Andrew White & Sean Woods, How Many Standards in a Laptop? (And Other Empirical
Questions), Soc. SCI. RES. NETWORK, Sept. 10,2010, available at http://ssrn.com/abstract=1619440 (identifying
251 interoperability standards that are embodied in or directly used by a laptop computer).
21 Participation-based policies that are RAND-RF tend to include very narrow definitions of essential patent claims.
In fact, some are so narrow it is conceivable that few if any patent claims would be subject to the RAND-RF policy
at all. Narrowing the scope of applicable patent rights is not a surprising result for RAND-RF policies because
members are going to be reluctant to commit to RF licensing up front when the scope of the standard may not yet be
determined and the patentee may not yet know if it will support the resulting standard.

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or impliedly involve both essential and non-essential patent claims. 22 Furthermore, such
arrangements typically are in regard to multiple standards, although they may be related within a
given field of use. As a result, in the "real world," disclosure of specific terms for essential
patent claims is not useful to either party given that they will likely need to negotiate a broader
more comprehensive agreement. Similarly, in the "real world," defining RAND terms solely for
essential patent claims is equally meaningless because it does not serve to provide additional
certainty for most implementers.

         B.       Specific Patent Information Is Rarely Used by Participants in Deciding
                  Whether or Not to Incorporate Patented Technology in the Standard

The point of a disclosure-based policy is to (i) procure a RAND license commitment for the
essential patent claims in the disclosed patents, and (ii) permit participants to negotiate licenses
ex ante so that they can be sure that the standard can be reasonably implemented once adopted.
In practice, few parties negotiate licenses ex ante even when they know which parties have
declared essential patent claims. This is because some implementers may have existing cross­
licenses, portfolio licenses, or other business arrangements involving the same patent claims with
the disclosing patentee and therefore have no need to negotiate a special standards-related patent
license. Other implementers may rely on patent detente with the patentee that those
implementers have no desire to disturb. Still other implementers may wish to take a wait-and­
see approach to licensing as opposed to sharing their confidential business and technical plans
early on with a potentially adverse party. In the end, however, virtually no implementers will
negotiate an ex ante license for solely standards-essential patent claims for the reasons discussed
above in Part IILA. 23

While many companies have formalized standards participation policies that require employees
to obtain internal approval before joining an sso and contributing to that SSO, very few
companies have a process for evaluating the risks associated with implementing standards. Yet
some companies are calling for SSOs to adopt policies that require more patent licensing
information to be made public, to provide more information about who is contributing to the
standard, to provide more information about who is participating in the development of the

22 For example, a cross-licensing agreement between Samsung and Ericsson, analyzed during patent infringement
litigation after the parties were unable to agree on renewal terms, included both essential and non-essential patent
claims for WCDMA cellular technology. Michele K. Herman, Negotiating Standards-Related Patent Licenses:
How the Deal is Done, Part 11, LANDSLIDE, Nov.-Dec. 2010, at 33, available at
http://www.dwt.com/portalresource/03-11_Herman_Landslide_part2.pdf. In another example, Motorola and
Research in Motion reached a settlement agreement ending litigation regarding extension of a 2003 cross-licensing
agreement that included patents that Motorola claimed were essential to the GSM, GPRS, and UMTS standards, as
well as rights to several non-essential Motorola patents.ld.
23 On occasion, some SSO participants will negotiate broader bilateral deals ex ante.


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standard, and to disclose more information about third party patent claims. These requests for
SSOs to make more information available have nothing to do with the selection of technology
during the standards development process because most companies do not even evaluate the
information that is available before they implement a standard, nor do they enter into bilateral ex
ante license negotiations as mentioned above. Rather, they want this information to assist with
any ex post negotiation should they be caught implementing a standard without a license. In
other words, the information is useful to such companies only after a dispute over terms has
arisen, not for the selection of technology during standards development. 24

The problems associated with requiring ex ante disclosure of specific patents, and especially
license terms, have been discussed at length elsewhere in the literature. 25 And there is no
evidence whatsoever that such disclosure has increased the number of bilateral ex ante
negotiations between participants and the contributors of competing technical proposals. The
idea that more transparency into the patent landscape and license terms that might be required to
implement competing alternative proposals is needed to effectively prevent hold-up is simply a
red herring intended to unnecessarily shift burdens to SSOs and standards technology innovators.

         C.       Nothing More Than Blanket Disclosure Statements and RAND License
                  Commitments Are Neede~ to Avoid Patent Hold-up

Notwithstanding the fact that few, if any, implementers will negotiate bilateral agreements with a
patentee prior to choosing technology to be included in a standard or even before implementing
the standard, it is nonetheless important that patentees and implementers have the opportunity to
do so. It is impossible to conclude that an implementer would not have engaged in good faith
negotiations if the implementer was unaware that a patentee believes its patents are likely to
contain essential patent claims.



24 Under these circumstances, it is not appropriate for an infringer, who would have made no attempt during
standards development to enter into bilateral ex ante negotiations or even prior to implementation to enter into
bilateral ex post negotiations, to expect that the SSO and its participants would undertake such a heavy burden to
disclose and collect such information. SSOs typically do not have the resources to efficiently track all feedback and
contributions, particularly nominal ones. While most technical working groups do prepare summaries of their
respective meetings, such summaries are often high level. Importantly, any public disclosure of the details of such
meetings may breach confidentiality obligations or at a minimum chill participation in the working group.
25 See, e.g., Michele K. Herman, Negotiating Standards-Related Pat~nt Licenses: How the Deal is Done, Part I,
LANDSLIDE, Sept.-Oct. 2010, at 38-39, available at http://www.dwt.com/portalresource/03­
II_Herman_Landslide--part1.pdf; Damien Geradin et aI., The Complements Problem Within Standard Setting:
Assessing the Evidence on Royalty Stacking, 14 B.U. J. SCI. & TECH. L 144, 171-73 (2008); Michele Herman &
Tom Watson, A Little Knowledge Can Hurt! The Quandary ofa Balanced IPR Policy, OPEN BAR, Mar. 2006, at 4-6,
available at http://www .open -bar. org/docs/AIPLA -Paper-FINAL. pdf.

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Commercial disputes may arise over patented technology incorporated in standards, but without
deceptive or bad faith conduct on the part of a participant, there is no subversion of the standards
process. The only information needed from patentees participating in standards setting activities
is whether they own patents likely to contain essential patent claims and whether they will make
such essential patent claims available on RAND terms. Some SSOs refer to such disclosure
statements as "blanket disclosures" because the patentee states that it believes it owns patents
likely to contain essential patent claims but does not disclose the specific patents or patent
applications. Typically, a blanket disclosure is accompanied with a license commitment, usually
on RAND terms (with or without compensation) for all essential patent claims owned by the
disclosing patentee. It is then up to each standards participant to seek more information as to
whether or not that participant might be able to reach a mutually acceptable bilateral agreement
with the patentee to the extent that the information would affect that participant's support for the
inclusion of the patented technology in the standard. As long as there is a RAND commitment
and some identification of the patentees that have declared patents, the standards process is not
subverted as a result of any missing information. SSO patent policies do not require further
transparency into specific patents or licensing terms because standards participants and
implementers will know who to contact to negotiate appropriate agreements on a bilateral basis.
Decisions by standards participants and implementers not to do so may result in commercial
disputes between the parties ex post, but those commercial disputes are not patent hold-up
situations that an SSO or patentee should be expected to eliminate.

         D.      The Risks of Onerous Patent Policies Aimed at Preventing Patent Hold-up
                 Outweigh the Usefulness ofInformation Obtained Through Compliance with
                 Such Policies

If SSOs mandate patent policies that require further transparency into specific patents or
licensing terms, the risk is that technology innovators might refrain from participating in
standards development. Technology innovators in the standards setting context usually include
patentees with relevant technological expertise; these are the participants that likely have the
most to offer during standards development. Without the contributions of such innovators, the
standards development process may be inefficient and protracted and the resulting standard is
more likely to be technically inferior and less successful in the marketplace.

There is also a practical concern that once specific terms are disclosed, the SSO participants will
jointly engage in pressuring the patentee to make significant licensing concessions or will reject
the patented technology altogether. Such negotiations could protract and complicate standards
development, could raise antitrust concerns, and would not yield much useful information. As
discussed above, even if the license terms for the standards-essential patent claims are jointly
negotiated and approved, each individual implementer might still need to negotiate a bilateral
agreement if one was not already in place with the patentee tailored to the needs of that
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implementer and patentee?6 The specific terms for those essential patent claims from that
particular patentee would not be a reliable measure of the overall costs to any specific
implementer without a bilateral agreement that covered the parties' broader interests. While the
competition concerns arising from joint negotiations may be mitigated through appropriate
counseling from the parties' lawyers, it seems that there are few, if any, benefits from such
proposals in contrast to their many identifiable risks.

IV.      RAND Enforcement Policies Should Not Ignore the Implementer's Conduct

The RFC asks a number of questions concerning the enforcement of a RAND license
commitment and its impact on patent hold-up. As discussed above, the inquiries should be based
on an assumption that the inclusion of patented technology in standards will promote innovation,
encourage competition, generate economic growth, and create jobs, not that the inclusion of
patented technology in standards will result in patent hold-up. In this regard, RAND
enforcement policies should not be defined to prevent a patentee from obtaining higher royalty
rates under all circumstances but should focus on a more narrow set of conduct and market
effects. If patent hold-up occurs when the patentee has (i) failed to abide by the relevant SSO
patent policy, (ii) intentionally deceived the SSO participants, and (iii) in doing so, harmed
competition and/or consumers because the patentee is able to extract higher royalties after "lock
in" as a result of its patented technology being incorporated into the standard, then a RAND
enforcement policy should come into effect. There are a number of legal and equitable doctrines
that are available to adequately address the harm caused by a patentee's deceptive conduct??

But where there has been no hold-up because the three criteria have not been satisfied, the
patentee should be able to require that the infringer enter into a RAND license considering the
specific facts and circumstances. Those facts and circumstances should not only take into
account the patentee's conduct but also the infringer's conduct. For example, did the infringer
participate in the standards development and have access to the patentee's patent declaration but
fail to seek a license? Did the patentee offer the infringer a license that the infringer refused to
negotiate in good faith? Did the patentee fail to declare that it owned patents likely to contain


26 Letter from Thomas O. Barnett, Assistant Attorney Gen., U.S. Dep't of Justice, to Robert A. Skitol, Esq., Drinker,
Biddle & Reath, LLP (Oct. 30, 2006), available at http://www.usdoj.gov/atr/public/busreview/219380.htm
("[W]orking group members will not set actual licensing terms. The patent holder and each prospective licensee will
negotiate separately, subject only to the restrictions imposed by the patent holder's unilateral declaration of its most
restrictive terms. ").
27These could include allegations of misrepresentation, fraud, breach of contract, promissory estoppel, waiver,
patent misuse, monopolization and attempted monopolization under § 2 of the Sherman Act, unfair methods of
competition under § 5 of the FTC Act, and similar state-based claims.


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essential patent claims, albeit not in bad faith, but nonetheless depriving the infringer of the
opportunity to seek an ex ante agreement? These questions would need to be explored before
making any judgment about the appropriate use of an injunction or the formulation of damages
and future royalty payments.

V.       Conclusion

In my view, the inquiry for the workshop should start with the assumption that patented
technology in standards has been driving innovation not that patented technology in standards
leads to patent hold-up. Then the term "patent hold-up" should be more precisely defined, taking
into account both the conduct of the parties and market effects. Finally, the FTC should seek
solutions to "real world" patent hold-up problems not merely theoretical patent hold-up
problems. In this regard, it is important to consider SSO patent policies and RAND enforcement
goals in the context of a narrowly defined patent hold-up scenario, and not as a means to prevent
all potential ex post commercial disputes.

Again, I appreciate this opportunity to submit these comments for consideration in connection
with the upcoming workshop as well as the opportunity to supplement them prior to the July 8,
2011, deadline with responses to the specific questions posed in the RFC.

Respectfully submitted.



Michele Herman I
Davis Wright Tremaine LLP




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                                    FEDERAL TRADE COMMISSION


                                    Request for Comments and
                                  Announcement of Workshop on
                                      Standard-Setting Issues




               Patent Standards Workshop, Project No, P11-1204




                                        NOKIA RESPONSE
                               Nokia Corporation, Espoo, Finland
             Contact: Tim Frain, Director, Regulatory Affairs, Legal & Intellectual Property

                                             July 8, 2011




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                                       Introduction and Background


      Nokia’s standing

      Nokia is the world leader in mobility, driving the transformation and growth of the converging
      internet and communications industries. For more than a decade Nokia has been the world’s
      largest manufacturer and seller of cellular handsets. Prior to 2007 Nokia was also one of the
      largest manufacturers of cellular infrastructure equipment.

      Every day, more than 1.3 billion people connect to one another with a Nokia device – from
      mobile phones to advanced smartphones and high-performance mobile computers. Today,
      Nokia is integrating its devices with innovative services through our dedicated online service
      store called Ovi (www.ovi.com), including music, maps and navigation, apps, email and more.

      Nokia invests significantly in innovation in the standards arena, helping to create open
      standards that afford interoperability for the benefit of consumers and enabling products from
      different manufacturers to interoperate seamlessly. Interoperability tends to be taken for
      granted in the telecommunications field because generally it works extremely well. However its
      importance should not be under estimated.

      In addition to being one of the largest manufacturers of standards-compliant products, Nokia
      was also one of the early pioneers in cellular technology. Since 1991 Nokia has invested over 46
      billion Euros in research and development related to its products and Nokia has contributed a
      substantial number of its own innovations and technical solutions to industry standards bodies
      for use by all manufacturers of standards-compliant products.

      Nokia expresses the views in this submission in its capacity of being, on the one hand, a leading
      innovator and owner of the largest telecoms patent portfolio in the world and, on the other
      hand, a leading implementer of probably hundreds of standards (including many hundreds of
      essential patents). In this dual capacity Nokia clearly has an interest to strike a careful balance
      between the perspectives of licensor and licensee. From this point of view, we believe that
      Nokia’s thinking in this area generally reflects the middle ground in this debate.



      Patent rules in SSOs and the role of the Regulator

      History and experience show that patent policies in standard-setting organisation (SSOs) are
      broadly functioning well especially in the telecoms arena. For over twenty years the telecoms
      industry has worked diligently to resolve many of the patent-related policy issues both within
      and even outside SSOs. Largely this has been successful and has had a positive impact on the
      market for the benefit of consumer.

      Over recent years open standards have helped spur innovation and promote competition. The
      telecoms sector has seen new players enter the market successfully. Such market entries would
      not have been possible without the earlier innovative technology contributions of the industry

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      incumbents and the fact that these early-contributors allowed their patents to be used by third
      parties on fair, reasonable and non-discriminatory (“(F)RAND”) terms1.

      Admittedly, however, there are occasionally situations where self-regulation and private
      litigation have not yet been sufficient to address the more controversial issues around patents,
      standards and competition. There continues therefore to be an important overseeing role for
      the regulator.

      While it is undoubtedly appropriate for the regulator to intervene in abusive patent hold-up
      situations, this has to be balanced against an overarching need to maintain an environment
      conducive to (F)RAND licensing - underpinned by a framework of effective legal measures
      available for patent-holders to seek redress against companies who refuse to take a license on
      (F)RAND terms but who instead choose to free-ride on patents owned by others.

      Broad or unclear patent policies within SSOs can open the way for opportunistic and even
      overly-aggressive enforcement. This phenomenon is to some extent exacerbated by the fact
      that patents essential to a standard have increasingly become commonly tradable assets, even
      among non-practising entities (NPEs) whose business model is premised solely on enforcing
      patents, including standardised technology. From a policy and regulator’s perspective, the role
      and impact of NPEs on legitimate enterprise perhaps deserves more careful attention.

      Increasingly courts of law around the world and especially in the United States are helping to
      apply, clarify and develop the relevant competition rules and interpretation of SSO patent
      policies, including the interpretation of (F)RAND, generally minimising the need for regulatory
      intervention.


        Broadly speaking, Nokia would advocate a light-touch approach to regulation, with the
        regulator having a predominantly overseeing role, and we would caution against over-
        regulation in this space.




      1. Disclosure of Patent Rights in an SSO

      The patent disclosure rules are generally working well in the telecoms arena. The somewhat
      generic nature of SSO disclosure rules accommodates variations in legitimate ‘internal’ practices
      in different sectors and different firms, reflecting the “real world” environment.

      While Nokia generally supports timely disclosure of essential patents, we have serious
      reservations about disclosing early-stage patent applications, especially pre-publication, when



      1The  concept of “reasonable and non-discriminatory" (RAND) terms is known in Europe more usually as “fair,
      reasonable, and non-discriminatory" (FRAND) terms. The more generic expression (F)RAND is used in this paper to
      cover both.

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      the contents would otherwise be confidential under the law, in order not to undermine
      international patenting programs.

      The disclosure of published applications could be misleading as the scope of the patent will
      normally be amended (narrowed) during prosecution, for example in the light of prior art, and it
      is only possible both for patent owners and third parties to assess with confidence if claims are
      essential or potentially essential once the patent has been granted. This might even encourage
      drafting overly-broad patent applications in the first place to artificially inflate an essential
      patent portfolio with patents that turn out not be essential at all. Overall, disclosure of pending
      applications could therefore result in greater uncertainty for third parties.

      The non-disclosure of patent applications would generally only become a concern if the patent
      owner, after the grant of a patent that is essential, is in a position to create “hold-up” by
      refusing to license or by seeking license terms that are non-(F)RAND. However, this type of
      abuse of the hold-up power can be effectively prevented – without compromising
      confidentiality - by requiring firms involved in developing the standard to make a general ex
      ante FRAND commitment, i.e. in the early stage of standardization. With such a general
      commitment the essential patent holder would commit to be bound to (F)RAND in respect of any
      and all their patents and patent applications they generate that may become essential to the
      standard.

      Policy makers need to be aware that disclosure policies can apply to huge numbers of patents,
      especially in the telecoms sector. Searching and identifying relevant patents is a non-trivial task
      requiring significant cost and resources. We would advocate that disclosure rules carefully
      reflect what is needed from a policy perspective to prevent hold-up without imposing an undue
      burden on firms, e.g. there should be no requirement to carry out a search.

      The general ex ante (early phase) (F)RAND commitment proposed above would address
      situations where the patent holders have difficulties in identifying precisely which of their
      patents eventually will become essential. General ex ante (F)RAND commitments would also
      have the benefit of taking the focus away from the importance of rigorous disclosure of each
      and every patent, as third parties can rest assured that all essential patents will be subject to the
      (F)RAND commitment, whether disclosed or not.

      Overall, Nokia believes it would be beneficial if the regulator were to encourage SSOs to require
      a general ex ante FRAND declaration, and subsequently patent-specific disclosures on a ‘good
      faith’ basis once patent holders have acquired a reasonable level of certainty that their patents
      are or will become essential, even in the context of royalty-free (RF) standards to avoid
      subsequent confusion (e.g. in the case of transfer of ownership of relevant patents – see further
      discussion below). SSOs should also ensure that patent disclosures and licensing declarations are
      publicly visible to everyone.

      In relation to non-disclosure and the question of deceptive conduct, it is difficult to prescribe
      generic rules and, in our view, it is better for this always to be assessed on a case-by-case basis
      having regard to the particular circumstances. Usually, if a firm has made a (F)RAND
      commitment, makes good-faith disclosures of essential patents and adheres to its (F)RAND
      obligations in its licensing practice, then there should be no case for making an ambush claim.

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      Generally speaking, the regulator should exercise extreme caution in pursuing an ambush claim
      unless there is clear and compelling evidence of deceptive conduct and actual harm. It is
      important for the industry and for individual firms who will inherently be exposed to generating
      standards-related patents, to know and to be reassured that the authorities would not normally
      intervene except in cases of clear abuse.

       In summary, it would be beneficial for SSOs to require a general ex ante (F)RAND declaration,
       and subsequently patent-specific disclosures on a ‘good faith’ basis once patent holders
       have acquired a reasonable level of certainty that their patents are essential.




      2. The (F)RAND Licensing Commitment

      Especially for complex standards as in telecoms, Nokia believes that (F)RAND is the only
      workable solution to prevent patent hold up. Broadly speaking, the (F)RAND regime is
      functioning well – not only for Nokia’s benefit as an industry participant but also for the success
      of cellular standards as a whole.

      The courts in the United States and in other countries will continue to play an important role in
      interpreting (F)RAND in individual cases, and there does not appear to be any compelling or
      urgent need for regulator intervention except in cases of clear abuse.

      Injunctions
      It is important to maintain a system where a firm seeking to license its patents on (F)RAND
      terms can get an injunction against an unwilling firm who is blatantly free-riding on patents
      owned by third parties, while at the same time recognising that abusive use of injunctions
      against a willing prospective licensee may necessitate regulatory intervention by authorities
      unless the court system shows itself capable to deal with the issue effectively from a policy
      perspective.

      Transfer of patent ownership
      This is an example of an area where SSO patent policies are not fully effective, not least because
      some participants may divest their patents possibly circumventing their (F)RAND obligations.

      To avoid potential abuse and the opportunity simply to by-pass a (F)RAND commitment made by
      a predecessor in title, Nokia believes it would be valuable for the regulator to clarify that the
      (F)RAND commitment made to an SSO should remain in force and be conveyed with the patent if
      ownership (or exclusive right to grant licences) of an essential patent/application is transferred,
      when the original owner of that patent has made a (F)RAND – including a royalty free (RF) -
      commitment to an SSO.

      Also, there is a growing and, as yet, unresolved debate in the context of SSOs which do not have
      a disclosure policy/practice, about how to identify that there is a (F)RAND commitment attaching



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      to relevant essential (but unidentified) patents if their ownership should change. The proposal
      above for a generic ex ante (F)RAND declaration would help resolve this problem.

      Divisionals and continuations
      In the case of divisional and continuation patents/applications, where a (F)RAND commitment is
      made on the parent patent/application, the (F)RAND commitment should also apply
      automatically to the divisional/continuation unless expressly excluded by the patent owner at
      an early stage of the standardization process.


       In summary, (F)RAND is the only workable solution in telecoms to prevent patent hold-up.
       The (F)RAND commitment should remain in force and be conveyed with the patent if
       ownership (or exclusive licence) of an essential patent/application is transferred. The
       (F)RAND commitment should also apply automatically to divisional and continuation
       applications unless expressly excluded by the patent owner at an early stage in the
       standardisation process.




      3. Ex ante Disclosure and/or Negotiation of Licensing Terms

      Ex ante disclosure of (most restrictive) licensing terms is not well suited to the telecoms
      environment, which is often characterized by complex, dynamic standards having broad
      technical scope, involving huge numbers of technology contributions and long evolution cycles
      over many years. It is simply not possible to determine a meaningful value/price long before it
      is known what kind of products will eventually implement the standard.

      Traditionally, ex ante disclosure of license terms has focussed on revealing a licensor’s own
      individual most restrictive terms (e.g. maximum royalty rates), so that if there is wide enough
      participation and all (or most) licensors disclose their rates, it could in theory be possible simply
      to add up all the individual rates and calculate an expected aggregated rate for the standardised
      technology in question.

      Practical experience of trying to use ex ante disclosure of license terms in the telecoms
      environment shows that when a lot of individual rates are aggregated, the cumulative figure
      can turn out to be extremely high and appear anything but commercially viable. The problem is
      exacerbated as the number of licensors grows and more individual rates have to be aggregated.

      In short, ex ante disclosure of individual licence terms in complex, early-stage telecoms
      standards can end up being somewhat counter-productive, in that it risks undermining
      commercial confidence in whole technology platforms that would otherwise be selected.

      From the perspective of complex technology standards it would be significantly more useful for
      licensors to disclose ex ante what they regard as the maximum commercially viable aggregate
      rate for a given standard, rather than merely disclosing their own individual rates.


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      This ‘top-down’ approach has the advantage that it puts into the public domain an array of data
      points about anticipated maximum aggregate royalty rates from informed actors, thus
      providing extremely valuable (and reliable) information for those interested in implementing
      the standard to better understand the likely market-entry costs attributable to patents. The
      more licensors who participate, the more data points there will be. Such information would be
      particularly useful for potential new entrants and prospective licensees generally, whose
      primary concern is the aggregated cost reservation that they would need to make for obtaining
      essential patent licenses.

      Ex ante disclosure of aggregate rates is not about imposing - or trying to impose - any kind of
      royalty cap, express or implied. It is merely a licensor expressing a unilateral view of what a
      commercially viable cumulative royalty might be. Actual royalties remain to be negotiated
      bilaterally in the normal way.

      Another potential problem with ex-ante disclosure of individual maximum license terms is that
      it inherently induces firms to announce inflated royalties so as not to undermine the
      negotiation position in bilateral negotiations. There is the danger that some firms will argue
      that their disclosed terms have been “approved” by the SSO members whether or not they are
      truly (F)RAND compliant. In this sense the ex ante process is open to abuse as a sort of rubber-
      stamping exercise for non-(F)RAND terms. This would have an anticompetitive effect of unjustly
      increasing the price of patent licences. Furthermore, there is no correction mechanism available
      where third parties could “oppose” disclosed rates and it may even make it more difficult for a
      potential licensee to argue later that disclosed rates are not (F)RAND-compliant.

      To safeguard against ex ante disclosure of most restrictive licensing terms being abused to
      massage the value of essential patents, Nokia would welcome the regulator taking steps to
      emphasise and explain the difference from an economics perspective between ex ante value and
      ex ante disclosure of maximum license terms, noting that the latter is merely a unilateral
      aspiration of maximum value, not evidence of actual value. Put simply, disclosing individual
      license terms ex ante does not mean or guarantee that those terms are (F)RAND-compliant.


       In summary, ex ante disclosure of individual licensing terms is not well suited to the telecoms
       environment, where it would be more useful for licensors to disclose ex ante what they
       regard as the maximum commercially viable aggregate rate for a given standard. In any
       case, the regulator could usefully do more to emphasise the difference between ex ante value
       and ex ante disclosure of maximum license terms, noting that the latter is merely a unilateral
       aspiration of maximum value, not evidence of actual value.




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